    Case 1:18-md-02865-LAK               Document 836          Filed 06/27/22    Page 1 of 49




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK




 In re

 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK                                   Master Docket 18-md-02865 (LAK)
 (SKATTEFORVALTNINGEN) TAX REFUND                         ECF Case
 SCHEME LITIGATION

 This document relates to all related dockets




             DECLARATION OF FOREIGN LAW OF HENNING AASMUL-OLSEN




                                                June 6, 2022




981638v1
       Case 1:18-md-02865-LAK                             Document 836                      Filed 06/27/22                    Page 2 of 49
                                                 Report of          :    Mr. Henning Aasmul-Olsen
                                                 Specialist field   :    Danish Law
                                                 Retained by        :    Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                 Prepared for       :    United States District Court, Southern District of New York




Contents

I.         Introduction .................................................................................................................................3
II.        Shares Of A Publicly Traded Company ......................................................................................4
           A.            Shares And Share Issuance ..........................................................................................4
           B.            Holding Dematerialised Shares ...................................................................................7
III.       Ownership Of Publicly Traded Shares........................................................................................8
           A.            The “nemo dat quod non habet” doctrine ....................................................................8
           B.            The “nemo dat quod non habet” doctrine applies to dividends .................................13
           C.            Other Conditions For Ownership Of Dematerialised Shares .....................................14
           D.            ED&F Man – Recycling Of Shares ...........................................................................19
           E.            The Term “Beneficial Ownership” ............................................................................21
IV.        Recent Danish Decisions ..........................................................................................................22
           A.            The Bech-Bruun Decision .........................................................................................22

           B.            Cases before the Danish Tax Tribunal.......................................................................22


Appendices

Appendix 1                      Curriculum vitae of Mr. Henning Aasmul-Olsen
Appendix 2                      Glossary
Appendix 3                      Rules and regulations, literature and other materials considered
Appendix 4                      Timeline for dividend distribution based on T+2 and T+3 settlement
Appendix 5                      Cases referenced by Mr. Pilgaard




                                                                                                                                               Page 2 of 47
         Case 1:18-md-02865-LAK                            Document 836                     Filed 06/27/22                    Page 3 of 49
                                                  Report of          :   Mr. Henning Aasmul-Olsen
                                                  Specialist field   :   Danish Law
                                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                  Prepared for       :   United States District Court, Southern District of New York




I.     Introduction

       1.        My full name is Henning Aasmul-Olsen. I have written this declaration (the “Declaration”) at

       the request of Hughes Hubbard & Reed LLP on behalf of the Customs and Tax Administration of the

       Kingdom of Denmark (Skatteforvaltningen) (the “Plaintiff” or “SKAT”), to be submitted to the United

       States District Court for the Southern District of New York in the United States of America (the

       “Court”) in the case no. 18-md-2865 (LAK) (the “Dispute”).

       2.        I am broadly trained and experienced in Danish law with specialist expertise in Danish securities

       laws, including corporate laws, and an LL.M. degree from University of Michigan. I am a partner with

       Moalem Weitemeyer Advokatpartnerselskab, a Danish law firm focused on transactional work and dis-

       pute resolution. I am head of the firm’s Capital Markets and Corporate Finance practises. I have previ-

       ously worked as an investment banker with Danske Bank, the largest Bank in Denmark, as executive

       director and co-head of the bank’s corporate finance unit in Copenhagen. I have advised on multiple

       capital markets and public M&A transactions as legal counsel or financial adviser. I am admitted to the

       Danish Bar with the privilege of audience in the Danish Supreme Court. My Curriculum Vitae is at-

       tached as Appendix 1.

       3.        The opinions rendered herein are opinions on legal matters and not on facts. I am entitled to

       render such opinions and qualified to do so on the basis of my knowledge of Danish law.

       4.        My compensation for rendering this Declaration has been agreed on a per-hour fee basis. My

       compensation does not depend in any way on the opinions I have rendered.

       5.        I have based my opinions exclusively on official rules and documents and certain facts noted in

       the “Defendants’”1 written submissions to the Court and certain facts, of which have been informed by

       the Plaintiff.




     1
       The “Defendants” are Acer Investment Group, LLC, American Investment Group of New York, L.P. Pension Plan, Basalt Ventures LLC Roth
     401(k) Plan, David Schulman, Doston Bradley, John van Merkensteijn, Michael Ben-Jacob, RAK Investment Trust, Richard Markowitz, River-
     side Associates Defined Benefit Plan, RJM Capital Pension Plan, Roadcraft Technologies LLC Roth 401(k) Plan, Robert Crema, Robert Klug-
     man, Roger Lehman, Ronald Altbach, Routt Capital Trust, Stacey Kaminer, The FWC Capital LLC Plan, The Proper Pacific LLC 401K Plan,
     and ED&F Man Capital Markets Ltd. (third-party defendant).


                                                                                                                                            Page 3 of 47
           Case 1:18-md-02865-LAK                              Document 836                     Filed 06/27/22                    Page 4 of 49
                                                      Report of          :   Mr. Henning Aasmul-Olsen
                                                      Specialist field   :   Danish Law
                                                      Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                      Prepared for       :   United States District Court, Southern District of New York




          6.         A “Paragraph” refers to a paragraph of this Declaration and an “Exhibit” refers to an exhibit

          to this Declaration, unless otherwise stated or the context requires otherwise. A glossary is set out in

          Appendix 2.

          7.         The Danish regulations and rules, practice, literature, and material submitted in the Dispute,

          which I have reviewed for the purpose of this Declaration, are set out in Appendix 3.


II.       Shares Of A Publicly Traded Company

          A.         Shares And Share Issuance

          8.         Defendants’ and Third-Party Defendant’s Memorandum in Support of Motion for Summary

          Judgment in the Dispute dated April 29, 2022 (“Defendants’ Motion”) seems to suggest that a mere

          contract can either create or transfer ownership of shares in a Danish company, regardless of the exist-

          ence of any shares underlying such contract. A book-entry by a custodian of a purchaser evidencing a

          purchase of shares would, according to the Defendants, in any event evidence ownership. The reasoning

          of the Defendants is: “Because shares of Danish securities [sic.] are dematerialized, meaning that they

          exist only as electronic book entries and not as physical paper certificates, the book entries in the RJM

          Plan’s account statements evidence the RJM Plan’s ownership.” Defendants’ Motion pages 6-7 citing

          Declaration of Foreign Law of Kasper Bech Pilgaard in the Dispute (“Pilgaard Decl.”) ¶¶ 151, 154,

          157; see also Defendants’ Motion pages 19-20.

          9.         This assertion of the Defendants, if accurately understood, would be wrong. Danish law does

          not recognize that a share of a Danish company can be created by two parties trading in a vacuum2.

          Danish law requires as a condition to ownership of shares that such shares pre-existed independently of

          a trade.

          10.        Fundamentally, a share in a Danish company is the ownership interest of a shareholder3. In

          Danish law, ownership provides a person the right to possess and use, and the right to contract over, any




      2
       See Sorensen Dep. Vol II 14:3-25.
      3
       Section 5, no. 16, of the Danish Companies Act, see Exhibit 11, and Appendix 1, Definitions, General, No 6, of the Danish Financial Statements
      Act, see Exhibit 12.


                                                                                                                                                Page 4 of 47
    Case 1:18-md-02865-LAK                               Document 836                     Filed 06/27/22                    Page 5 of 49
                                                Report of          :   Mr. Henning Aasmul-Olsen
                                                Specialist field   :   Danish Law
                                                Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                Prepared for       :   United States District Court, Southern District of New York




  given asset, subject in all events to restrictions imposed by law4. For ownership to a share, this implies

  the right to exercise the shareholder rights, governance rights and financial rights, in the company avail-

  able to shareholders under the articles of association and the Danish Companies Act and the right to

  sell, pledge and contract in every respect over such share5. The shareholder rights include governance

  rights such as, e.g., the right to attend, speak and vote at general meetings, and financial rights, such as,

  e.g., the right to receive dividends and proceeds upon liquidation. All of these shareholder rights are

  directly enforceable against the issuer under law and would affect not only the issuer but the rights of

  all other shareholders as well. Consequently, two persons trading “a share” must be trading a share that

  is recognized by the Issuer and the other shareholders as existing.

  11.        All Danish businesses with shares admitted to public trading and official listing are limited

  liability companies. A company with limited liability must have a fixed share capital (denominated in

  DKK or Euro or any other permitted currency from time to time)6. The share capital cannot be floating

  or a minimum7.

  12.        Danish companies must stipulate the aggregate nominal share capital and either the number of

  shares or the nominal value of each share in the articles of association8. The information is registered

  by the Danish Business Authority and publicly available9.

  13.        As a matter of Danish law, it is not possible for a company to be held to have issued more shares

  than the number registered by the Danish Business Authority, as this would imply non-compliance with

  several fundamental corporate law requirements such as:




4
  Peter Mortensen: Indledning til tingsretten, page 61 onwards, see Exhibit 13, and Michael Elmer og Lise Skovby: Ejendomsretten, 1999, page
13, see Exhibit 14.
5
  Jakob Bundgaard: Skatteret & Civilret, 2006, pages 918-922, see Exhibit 15.
6
  Section 4 of the Danish Companies Act, see Exhibit 11. See also Sorensen Dep. Vol II 12:17-13:13 confirming that the amount of shares issued
by a company will be a fixed amount in VP Securities’ systems.
7
  See section 15, subsection 1, item 5 of the Danish Executive Order on Registrations, which provides the following when incorporating a limited
liability company: “Registration via the Danish Business Authority’s self-registration solution on www.virk.dk for companies etc. or filing for
registration of incorporation of a limited liability company shall at a minimum include the following: […] (5) the amount of the share capital
and the method of payment, the amount of the paid in share capital if only part of the share capital or the premium has been paid in, cf. the
Danish Companies Act section 40, subsection 2, and the size of any potential premium”, Lars Bunch et al.: Selskabsloven med kommentarer (En.
The Danish Companies Act with comments), 3rd edition, 2018, page 95, Exhibit 16, and Bernhard Gomard et al.: Kapitalselskaber (En. Limited
liability companies), 8th edition, 2015, pages 130-131, Exhibit 17.
8
  The Danish Companies Act, section 28, item 3, see Exhibit 11.
9
  Now at https://datacvr.virk.dk/data/.


                                                                                                                                          Page 5 of 47
         Case 1:18-md-02865-LAK                          Document 836                     Filed 06/27/22                    Page 6 of 49
                                                Report of          :   Mr. Henning Aasmul-Olsen
                                                Specialist field   :   Danish Law
                                                Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                Prepared for       :   United States District Court, Southern District of New York




     x       The requirement for the share capital and number of shares to be adopted by the general meeting

             (or the board of directors) of the company10;

     x       The requirement for any share to be subscribed in writing11; and

     x       The requirement that all shares have been fully paid in or at least paid in by 25 per cent (plus

             the full premium) into the company12.

     14.     Moreover, if a company could be held to have issued more shares than the number registered

     by the Danish Business Authority, market uncertainty would be created in respect of the size of offer

     and demand available, total voting rights, total dividend rights, and the basis for per share derived fi-

     nancial metrics (e.g., earnings per share), all of which could lead to additional non-compliance with

     law, including violations of disclosure obligations.

     15.     Upon adoption of the relevant corporate resolutions and registration with the Danish Business

     Authority, shares of publicly traded Danish companies will be issued in the systems of VP Securities13.

     In fact, publicly traded companies will provide in their respective articles of association that all shares

     of the same class are or shall be issued through VP Securities (or, generally, a central securities depos-

     itory, a “CSD”)14. As correctly stated in Pilgaard Decl. ¶ 149 the “book-entry” representing the issuance

     of shares by a Danish company refers to a book-entry in the systems of VP Securities, not a book-entry

     by a custodian of a purchaser as the Defendants seem to suggest in Defendants’ Motion on pages 7 and

     23.

     16.     Accordingly, for shares issued in dematerialised form at VP Securities, at any given time, the

     total share capital and the total number of shares in any given share class will be registered by the Danish

     Business Authority and will match (a) the total share capital and the total number of shares created in

     the systems operated by VP Securities, and (b) if the shares are admitted to trading and official listing

     on Nasdaq Copenhagen, the total share capital and the total number of shares so admitted to trading and


10
   Sections 154 - 155 of the Danish Companies Act, see Exhibit 11.
11
   Section 163 of the Danish Companies Act, see Exhibit 11.
12
   Sections 33 and 158 of the Danish Companies Act, see Exhibit 11.
13
   VP Securities is currently the only CSD with a Danish license and was the only Danish licensed CSD in the Relevant Period. For the Relevant
Period, and having investigated multiple Danish companies, I believe that all Danish companies with primary Nasdaq Copenhagen listings chose
VP Securities as CSD in the Relevant Period.
14
   See, for example, Article 4.1, last sentence, of Novo Nordisk A/S’ articles of association as amended latest on 27 April 2022, Exhibit 18.


                                                                                                                                          Page 6 of 47
      Case 1:18-md-02865-LAK                             Document 836                     Filed 06/27/22                    Page 7 of 49
                                                Report of          :   Mr. Henning Aasmul-Olsen
                                                Specialist field   :   Danish Law
                                                Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                Prepared for       :   United States District Court, Southern District of New York




     listing at Nasdaq Copenhagen15. No additional shares can be created anywhere without several corporate

     formalities at the initiative of the issuer (who will be compelled to grant shareholder rights enforceable

     by law by virtue of a shareholding), a registration by the Danish Business Authority and an issuance by

     VP Securities.

     17.     The implication is that ownership of any share in a Danish company will refer to ownership of

     a share existing as book-entry in the systems of VP Securities, and it will moreover always refer to a

     share allocated to a specific account in the name of an “Account Holding Institution”16 (sometimes

     being the end-investor and sometimes not) for an account in the systems of VP Securities17. A share

     issued in the systems of VP Securities will never leave such systems, not even if purchased by a non-

     Danish owner.

     18.     Consequently, as a result of the facts set out in Paragraphs 11-17, two persons trading “a share”

     cannot create a share that has not been issued by a company and recorded in the systems of VP Securi-

     ties.


     B.      Holding Dematerialised Shares

     19.     The fact that all shares of a publicly traded company will be issued in the systems of VP, and

     all allocated to accounts in VP Securities, does not mean that dematerialised shares can only be held by

     persons registered in VP Securities. From a Danish law point of view, the person registered with VP

     Securities is not necessarily the ultimate owner of the shares. Shares can indeed be held by end-investors

     in a chain of custody down-stream from VP Securities.

     20.     Since ownership to shares in any event requires the existence of such shares, and all shares are

     allocated to accounts in VP Securities, a share held in a chain of custodians downstream from VP Se-

     curities will, at any given time, originate from shares in an account in VP Securities allocated to an

     Account Holding Institution. For a purported downstream shareholder to establish that it owns a share,


15
   See Sorensen Dep. Vol II 11:12-14:25 and 24:8-25:5.
16
   An “Account Holding Institution” is a Danish or foreign financial institution entitled and obliged to report for book-entry in the systems of
VP Securities, see Sections 62 and 66 of the Danish Securities Trading Act, Exhibit 1.
17
   Except for certain shares temporarily unclaimed pursuant to Section 63 of the Danish Companies Act, Exhibit 11, and placed credited to a
special VP account (bonus shares and residual shares from a replacement of certificated shares with dematerialised shares), Danish law does not
permit shares of a publicly traded company to be unallocated in the systems of VP.


                                                                                                                                          Page 7 of 47
             Case 1:18-md-02865-LAK                          Document 836                     Filed 06/27/22                    Page 8 of 49
                                                    Report of          :   Mr. Henning Aasmul-Olsen
                                                    Specialist field   :   Danish Law
                                                    Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                    Prepared for       :   United States District Court, Southern District of New York




            it must demonstrate upstream ownership at VP Securities, and then identify the recorded holding in

            every downstream custody level in such chain until it reaches its sub-custodian. For the conditions for

            ownership of shares, see Paragraphs 24-54.

            21.     This is explicitly recognised in Section 72, subsection 2, of the Danish Securities Trading Act,

            see Exhibit 1 (applicable in the Relevant Period), noting that “If the account holder keeps an account

            [in VP Securities] on behalf of one or more owners, this shall be registered by book-entry on the ac-

            count” (my insertion).

            22.     The view is shared by VP Securities. In a note pursuant to CSDR Article 38(6), Exhibit 2, VP

            Securities has expressed that “legal ownership to securities held by and in the name of a participant on

            behalf of an end-investor […] also vests in the end-investor”18. As a matter of financial regulations, the

            Danish Financial Business Act Section 72, Exhibit 3, when referring to omnibus accounts (Da. sam-

            ledepoter), permits commingling of “instruments of customers” and provide that each customer may in

            the event of insolvency proceedings of a financial institution retrieve “its instruments” from such om-

            nibus account subject to certain conditions19.

            23.     VP Securities operates three kinds of securities accounts: (1) an omnibus account, (2) an indi-

            vidual account, and (3) an end-investor account. Shares held in an individual account and an end-inves-

            tor account are effectively segregated from shares belonging to other investors and participants in VP

            Securities20 and are owned by the persons registered with VP Securities. For shares in an omnibus ac-

            count, the owners would not be registered by VP Securities. Instead, the shares would be held by the

            owners in custody on an intermediated basis by a custodian or through a chain of custodians21.


III.        Ownership Of Publicly Traded Shares

            A.      The “nemo dat quod non habet” doctrine




       18
          Note by VP Securities: “Levels of segregation offered by VP SECURITIES A/S”, dated as of 17 August 2017, page 3, Exhibit 20.
       19
          End-investor ownership is also recognized in case precedents, see Supreme Court ruling of March 20, 1997 (Ugeskrift for Retsvæsen.
       1997.762H), Exhibit 19.
       20
          See Note by VP Securities: “Levels of segregation offered by VP SECURITIES A/S”, dated as of 17 August 2017, page 3, Exhibit 20. VP
       Securities operated similar account forms in the Relevant Period.
       21
          See Sorensen Dep. 49:11-21.


                                                                                                                                              Page 8 of 47
    Case 1:18-md-02865-LAK                                 Document 836                     Filed 06/27/22                    Page 9 of 49
                                                  Report of          :   Mr. Henning Aasmul-Olsen
                                                  Specialist field   :   Danish Law
                                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                  Prepared for       :   United States District Court, Southern District of New York




  24.        Defendants’ Motion appears to assert that a mere contract can transfer ownership of shares in a

  Danish company, regardless of whether or not the seller holds any shares or acquires any for delivery

  by the settlement date. The Defendants’ view is that “a purchaser owns shares and their associated

  dividends when he enters into a binding contract…” and the fact that “[t]here are no shares that are

  identified or held at accounts at that time, … is no matter because it is the contractual right that gives

  rise to beneficial ownership under Danish tax law.” Defendants’ Motion pages 23-24. Moreover, ac-

  cording to the Defendants, “Danish law allows a custodian with equal and offsetting positions … to

  engage in “netting” and internalized settlement (Pilgaard Decl. ¶¶ 204-208) such that the custodian does

  not need to obtain external shares in order to settle its customers’ transactions”, Id.

  25.        Defendants’ view is incorrect and conflicts with principles of Danish law expressing as a rule

  of law that a seller, who does not own an asset, is incapable of transferring ownership to a purchaser.

  These principles are fundamental property law and will be applied across asset classes, including dema-

  terialised shares, and will be applied for purposes of tax laws requiring ownership to shares, see Para-

  graph 42.

  26.        Danish law recognises as a non-statutory legal principle the “nemo dat quod non habet” (“no

  one gives what they do not have”) doctrine. Being a principle of law, the Danish courts would apply the

  doctrine in rulings and, if the asset has been sold by persons with flawed ownership, order repossession

  in favour of the original owner of an asset 22.

  27.        As described in Paragraph 10, ownership generally provides a person with the right to possess

  and use, and the right to contract over, any given asset, subject in all events to restrictions by law.

  28.        Naturally, a person can only legally contract for any given property in accordance with the terms

  and conditions agreed inter partes with the person conveying such property to him. This is true, regard-

  less of whether such property right is absolute or partial. That is to say, a person A can only transfer a



22
   This principle is manifest in Danske Lov passed by King Christian V on April 15, 1683, Section 6-17-5 (my translation): “If anybody purchases
stolen goods and the owner reclaims the goods, then he who purchased (lawfully and witnessed) shall prove that he in fact purchased the goods
and under oath swear that he is neither a thief nor a thief’s accomplice and do not know where his seller was and still shall have lost the property.
If he who purchased can find his seller, then he can claim damages.” The principle dictates that an owner of stolen goods will have a claim for
repossession of the stolen goods from subsequent resellers. In effect, this rule of law underpins the nemo dat quod non habet principle since a
right for the owner to repossess an asset means that a person purporting to convey ownership in a downstream chain to something he does not
lawfully own by definition cannot do so.


                                                                                                                                            Page 9 of 47
     Case 1:18-md-02865-LAK                            Document 836                      Filed 06/27/22                    Page 10 of 49
                                                Report of          :   Mr. Henning Aasmul-Olsen
                                                Specialist field   :   Danish Law
                                                Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                Prepared for       :   United States District Court, Southern District of New York




     right to another person B, if A actually holds the right. Accordingly, if person A had no ownership

     rights, it would not be able to transfer or convey any ownership rights to a buyer, B. Generally, this

     entails that A can only dispose of its own property rights23. If the right in question is a pledge, A can

     only transfer the pledge – not the absolute ownership to the pledged asset, just as a lessee of a car would

     only be capable of transferring the use right to the car, not the ownership right to the car.24

     29.     The above views have been articulated in the general Danish law principle that “a purchaser

     does not acquire better rights than its seller”. This principle is manifest in Section 27 of the Danish

     Debentures Act which has the following wording:


             “If an ordinary debenture is transferred or pledged, the acquirer does not obtain better
             rights than the transferor, unless explicitly provided for by law.”


     30.     An example of use of Section 27 is in the Western High Court ruling of 19 December 196325,

     Exhibit 4, where R arranged for D to borrow DKK 4,000 from M. D issued a debenture to M with a

     guarantee from K. However, as M did not want to provide the loan, R instead used his daughter B’s

     funds – which he managed – to provide the loan. R subsequently arranged for M to transfer the debenture

     to B. Later, B redeemed the loan and required immediate and full payment from D and K. However, as

     the loan was never provided and thus did not exist, the court held that M was not capable of transferring

     the debenture to B. The court held that M was incapable of conveying a right that did not exist to B and

     as K had not accepted that the guarantee covered a debt to B, K was released from repaying the loan to

     B. Consequently, the court applied the “nemo dat quod non habet” doctrine to the transfer of the de-

     benture with the result that it could not be transferred as it did not exist in the first place.




23
   See Henry Ussing: Aftaler, 1978, pages 264-265, Exhibit 21. In addition, a contractual entitlement may imply that a person can dispose of
another person’s asset(s). This would be the case, e.g., at a sale by a pledgee of pledged asset(s) in enforcement proceedings after default by
pledgor.
24
   See W.E. von Eyben: Formuerettigheder, 1972, page 25, Exhibit 22, and Henry Ussing: Aftaler, 1978, page 264, Exhibit 21.
25
   Reference: Ugeskrift for Retsvæsen.1964.307V, Exhibit 4.


                                                                                                                                         Page 10 of 47
   Case 1:18-md-02865-LAK                                Document 836                      Filed 06/27/22                    Page 11 of 49
                                                  Report of          :   Mr. Henning Aasmul-Olsen
                                                  Specialist field   :   Danish Law
                                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                  Prepared for       :   United States District Court, Southern District of New York




  31.        There is consensus in Danish legal theory that the “nemo dat quod non habet” doctrine applies

  not only to ordinary debentures and claims, but universally to transactions involving property rights26.

  By definition it is irrelevant whether or not a transfer of an asset, which a seller does not own, is valid27.

  Invalidity of a contract is based on a set of specific grounds in Danish law, but lacking ownership is an

  even more fundamental flaw causing any agreement for transfer to be ineffective in transferring title in

  the first place without the need to invoke a specific validity ground28. As the seller does not have any

  legal control over the asset, it cannot dispose of it and the question on whether or not the transfer is

  valid does not arise.

  32.        If a seller contracts to transfer shares that it does not own, the seller is liable to the purchaser on

  an objective basis29, i.e. seller would be contractually liable without any negligence or “scienter” re-

  quired on seller’s part. But that would not create ownership rights for the purchaser to any shares.

  33.        As noted, the “nemo dat quod non habet” principle has a broad reach to any property right in

  any asset class. For example, the Supreme Court ruling of 20 March 197430, Exhibit 5, confirms that the

  principle applies to a slot machine. In this case, a seller A had sold a slot machine to a purchaser B with

  title reservation (Da. ejendomsforbehold). B resold the slot machine to C and received the purchase

  price without paying A. The Supreme Court held that the title reservation was valid, and that C did not

  become the owner – despite the purchase agreement and payment of purchase price – as B, from which

  he derived his right, was not the owner of the slot machine. Consequently, A retained its title to the slot

  machine.

  34.        The legal principle applies to dematerialised shares registered with VP Securities. In a ruling

  from the Maritime and Commercial High Court of 9 May 199431, Exhibit 6, a stockbroker firm had



26
   See Lennart Lynge-Andersen, Peter Møgelvang-Hansen og Anders Ørgaard: Gældsbrevsloven med kommentarer (En. The Danish Debentures
Act with commentaries), 2007, page 184, Exhibit 23, Henry Ussing: Obligationsretten – Almindelig del (En. The Law of Obligations – Ordinary
Part), 1967, page 211, Exhibit 24, and Peter Mortensen, Indledning til Tingsretten (En. Introduction to the law of property), 2nd edition, 2009,
page 148, Exhibit 13.
27
   See Lennart Lynge-Andersen, Peter Møgelvang-Hansen og Anders Ørgaard: Gældsbrevsloven med kommentarer, 2007, page 184, Exhibit
23.
28
   Which is consistent with the statement by the Maritime and Commercial High Court in the case referred to in Paragraph 34.
29
   Section 59 of the Danish Sales of Goods Act, Exhibit 25, on defective title. This rule of law a priori confirms that defective title of the seller
will prevent ownership of the purchaser of an asset. The purchaser is instead entitled to claim damages.
30
   Reference: Ugeskrift for Retsvæsen.1974.363H, Exhibit 5.
31
   Reference: Ugeskrift for Retsvæsen.1994.719Ø, Exhibit 6.


                                                                                                                                           Page 11 of 47
   Case 1:18-md-02865-LAK                                Document 836                      Filed 06/27/22                    Page 12 of 49
                                                  Report of          :   Mr. Henning Aasmul-Olsen
                                                  Specialist field   :   Danish Law
                                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                  Prepared for       :   United States District Court, Southern District of New York




  unlawfully registered a client’s shares in its own name. Shortly after, the broker firm went bankrupt.

  The bankruptcy estate claimed that the estate had ownership to the shares, as it was registered with VP

  Securities and, thus, had perfected its ownership rights in accordance with the then applicable perfection

  requirements32. The court held that the registration of the shares in the broker firm’s own name was

  unlawful as the broker firm did not own the shares and awarded ownership to the client. The ruling did

  not address a contractual transfer of ownership from a transferor with no rights, but a conflict between

  the owner and the bankruptcy estate of the person registered being one step further down the chain of

  transfers from the transferor. In my view, the ruling would have been the same, had the broker firm sold

  the shares to a third party.

  35.        It is true that in certain circumstances Danish law permits netting and internalized settlement

  among several customers of the same custodian without compromising a purchaser’s ownership rights33.

  For regulatory requirements, see Paragraph 51 and 53. However, netting and internalized settlement are

  premised on the custodian holding actual shares. If none of the sellers having accounts with the custo-

  dian own (or has contracted to own) any share of the relevant class, none of the sellers are capable of

  conveying ownership to any purchaser under the “nemo dat quod non habet” principle, and any “net”

  or “internalized” settlement would not cause a transfer of ownership of any shares to the custodian’s

  purchasing customers. Similarly, if the total number of shares owned and ultimately sold by net-sellers

  is insufficient to cover orders of net-purchasers, netting and internalised settlement will not be possible

  at all, or at least not be possible for the unsatisfied portion of the net-purchase orders, as a result of

  failure to deliver the full amount of the shares or segregate the shares, see Paragraph 1634.




32
   The perfection requirement was provided for in Sections 8 and 11 of the Danish Act on Central Securities Depositories, which was repealed
and replaced by identical provisions in Sections 66 and 69 of the Danish Securities Trading Act, Exhibit 1.
33
   Netting or internalised settlement does not change the requirement for segregation and delivery of shares (see also Sorensen Dep. 16:1-9).
While Article 3 of the Settlement Finality Directive, Exhibit 26, does allow for netting, Article 3 sets out as a condition for enforceability and
binding effect on third parties that transfer orders have been entered into a system. Pilgaard Decl. ¶ 205 is incomplete and fails to state that
condition. Pursuant to Article 3, the transfer orders must be entered into a system before the moment of opening of the insolvency proceedings,
see also Danish Securities Trading Act Section 57, Exhibit 1, which transposed article 3 in the Relevant Period. Prior to settlement, VP Securities
performs clearance based on preadvice from the parties to a trade. VP Securities believes that some protection of ownership is available from
clearance and clearance in the systems of VP Securities likely meets the standard for segregation under Danish law. In clearance, the preadvices
are matched if the purchase price and the settlement date correspond. Then the transfer order is deemed final, cleared and “entered into” the
systems of VP Securities. At this point, the transfer order cannot be cancelled or revoked unilaterally by either of the parties, a VP participant or
a third party.
34
   See Sorensen Dep. Vol II 28:21-28:25.


                                                                                                                                           Page 12 of 47
     Case 1:18-md-02865-LAK                              Document 836                      Filed 06/27/22                    Page 13 of 49
                                                  Report of          :   Mr. Henning Aasmul-Olsen
                                                  Specialist field   :   Danish Law
                                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                  Prepared for       :   United States District Court, Southern District of New York




     36.     Pages 15-18 of Plaintiff’s Motion describes a series of circular transactions, in which a seller

     that does not hold shares contracts to sell shares to a pension plan that also does not hold shares. The

     seller purports to borrow the same shares to cover the sale to the pension plan by borrowing (through

     intermediaries) from the pension plan itself. By application of “nemo dat quod non habet” principle,

     where neither the seller nor the pension plan had any shares to begin with, the seller could not transfer

     any ownership interest.



     B.      The “nemo dat quod non habet” doctrine applies to dividends

     37.     Dividends are a distribution of equity made by a company to the owners of its shares, its share-

     holders35. Dividends are declared by way of a corporate resolution of the general meeting (or by the

     Board of Directors with special authority granted by the general meeting) at no consideration and, as of

     the time of declaration, (a) generates an enforceable right to the dividends for the shareholders against

     the company, (b) depletes the reserves distributed, and (c) creates a liability for the company in the

     amount declared. Publicly traded companies can only pay dividends through VP Securities36. The divi-

     dend distribution will be made as set out in Appendix 4.

     38.     For persons not registered with VP Securities, the holding of shares and remittance of dividends

     at any level of custody in a downstream chain of custodians will be governed by a custody services

     agreement made between such persons and the custodians. In my view, however, any entitlement to

     dividends will require ownership of shares as a prerequisite for receipt. This is a consequence of the

     dividend construct under Danish law, being a corporate distribution of equity to shareholders, and this




35
   Sections 179 through 184 of the Danish Companies Act, Exhibit 11.
36
   A prerequisite for registration with VP Securities is that dividends are paid through VP Securities in accordance with its rules, see page 293
of VP Securities’ System Guidelines, 19 December 2011, Exhibit 27, and page 5 of VP Rules A-D, applicable as of 17 June 2013, Exhibit 28,
where VP Securities refers to Section 71, subsection 2, of the Danish Securities Trading Act, Exhibit 1, and adds that: “[…] An issuer’s provisions
[in its articles of association] that prescribe payments [of interest, dividends and capital] in a different way, i.e. by registration in the share-
holders’ register, are not in accordance with the procedure for dematerialised assets.” (my insertions and emphasis) VP Securities further states
that: “Consequently, it is a condition for registration of dematerialised securities with VP Securities that the terms of the securities allow VP
Securities to act as a payment intermediary [of interest, dividends and capital]” (my insertions and emphasis).


                                                                                                                                           Page 13 of 47
     Case 1:18-md-02865-LAK                             Document 836                      Filed 06/27/22                    Page 14 of 49
                                                 Report of          :   Mr. Henning Aasmul-Olsen
                                                 Specialist field   :   Danish Law
                                                 Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                 Prepared for       :   United States District Court, Southern District of New York




     construct must be determined under Danish law notwithstanding any choice of law in a custody services

     agreement37.

     39.     If, by reason of the “nemo dat quod non habet” principle or any other legal impediment, a person

     does not become an owner of shares, they will not obtain the right to receive a dividend as detailed in

     Paragraph 38. Accordingly, any payment received by such person from its custodian (either directly or

     on behalf of a seller) will not, in my view, be dividends.



     C.      Other Conditions For Ownership Of Dematerialised Shares

     40.     Defendants’ Motion asserts that ownership to a share passes on conclusion of a final and binding

     agreement. In particular, in the view of the Defendants, delivery of shares or settlement of the trade, is

     not a precondition of ownership under Danish tax law, Defendants’ Motion pages 7 and 19 citing Pil-

     gaard Decl. ¶¶ 155-170. That is incorrect38.

     41.     Under Danish law, a contract to purchase a dematerialised share will not be effective inter partes

     to transfer ownership until the delivery of such share or the completion of other means of segregation

     of such share from other similar shares for the benefit of the purchaser39. Until delivery, the purchaser

     will not be able to exercise any shareholder rights.

     42.     The Defendants have specifically referred to Danish tax laws when alleging that a final and

     binding contract suffices to transfer ownership. The ownership construct for shares is the same in Danish

     tax laws and in Danish civil law. If a seller does not own anything in civil law, there is no construct in

     tax laws that allows the seller to create an asset or transfer ownership40.


37
   See ISSA’s “Report on Inherent Risks within the Global Custody Chain”, February 2017, page 23, section 3.3, Exhibit 29: “[…] the ability
for an investor to gain access to their assets will depend on their rights in respect of i) the law of the country where the assets are issued (the
law of incorporation of the securities (governing law) ii) the country where they are held in custody and iii) the law of the local CSD.” See also
the European Post Trade Forum Report of 15 May 2017, page 85, Exhibit 30: “… there are no harmonised EU rules on the legal position of the
end investor in book entry securities. Across the EU, Member States have developed legal mechanisms which are intended to ensure that an end
investor enjoys in rem “ownership” of securities, notwithstanding that a chain of intermediaries may separate the end investor from the issuer.
These mechanisms work reasonably well within each Member State. But the mechanisms differ from each other, and can come into conflict if
the chain of intermediaries crosses borders. The lack of harmonised rules on the end investors’ legal position in cross-border settings constitutes
a barrier to the CMU.”
38
   See also Sorensen Dep. 64:24-65:7.
39
   See Note by VP Securities: “Levels of segregation offered by VP SECURITIES A/S”, dated as of 17 August 2017, Exhibit 20: “Danish law
provides that legal ownership of securities vests in the end-investor having acquired title to and received the relevant securities” (my emphasis).
40
   See Jakob Bundgaard: Deltagelse i kapitalselskaber – aktionærbegrebet i selskabsretlig og skatteretlig belysning, 2006, SPO 2006.17, page
7, Exhibit 31. See also Anders Nørgaard Laursen Kommentarer til udvalgte afgørelser – SKM2016.281.HR, 2016, RR.SM.2016.0101, page ,




                                                                                                                                          Page 14 of 47
   Case 1:18-md-02865-LAK                                Document 836                      Filed 06/27/22                    Page 15 of 49
                                                  Report of          :   Mr. Henning Aasmul-Olsen
                                                  Specialist field   :   Danish Law
                                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                  Prepared for       :   United States District Court, Southern District of New York




  43.        Dematerialised shares in book-entry form are globally recognized as fungible (just as cash). The

  shares are data in computing systems with no distinction between them. In the context of a sale and

  purchase, dematerialised shares represent a generic asset class (as opposed to a specific asset) as used

  in the Danish Sale of Goods Act meaning that a seller of a dematerialised share can perform the sale

  and purchase contract by delivery of any share in the same class issued by the company in question41.

  44.        In Danish law, a contract to sell and purchase a dematerialised share will, in and of itself, not

  be effective to transfer ownership. At inception, the contract will, if valid and binding, be deemed an

  obligation for the seller to deliver any similar share issued by the relevant company at the agreed time.

  This will be tantamount to a claim against the seller, not ownership, and the purchaser will be unable to

  require specific performance for an identified, specific asset42. In those circumstances, ownership will

  not pass, and the purchaser will not from contract inception be able to exercise any shareholder rights

  afforded by law and the articles of association in a company. Since the contract is binding and valid, the

  purchaser will have remedies for seller’s failure to deliver. Such remedies will include damages and

  could potentially include specific performance for delivery of any similar share to the one purchased.

  45.        To recognise ownership vested in a purchaser, Danish law, like other jurisdictions43, requires

  segregation (Da. individualisering) from other assets of similar type belonging to the seller or




Exhibit 32. Supreme Court Ruling of June 2, 2019, (Ugeskrift for Retsvæsen.2020.1923 H), Exhibit 33, used the civil law construct for ownership
of shares and held that that dividends should be attributed to the persons being the shareholders at the time of the dividend declaration. Pilgaard
has previously represented that, as a general rule, tax laws are controlled by civil laws, and that this applies on the issue of ownership to shares,
Kasper Bech Pilgaard’s submission to the Danish Tax Tribunal in the case Decision of the Danish Tax Tribunal, Skatteforvaltningen v. The FWC
Capital LLC Pension Plan (case no. XX-XXXXXXX), page 116, Exhibit 45. I concur.
41
   See Søren Theilgaard et al: Købeloven – med kommentarer, 2017 (4. udgave), page 81, Exhibit 34.
42
   See Peter Mortensen: Indledning til tingsretten – tredjemandskonflikter vedrørende løsøre, 2. edition, 2008, pages 83, 86 and 226, Exhibit 13.
On page 83, Peter Mortensen states: “On the other hand, if the promise relates to a non-specified service – e.g., delivery of a batch of a specific
product (genus) or payment of a sum of money – this is not a transfer. The promise creates a claim on a benefit (the shipment or the sum of
money), but it does not relate to any specific property (real estate, chattel, promissory notes, etc.) after which the promise cannot be said to
transfer the right to a property to the promisee. If the promisor does not fulfil his promise, the promisee may not demand that certain goods be
handed over, but can only in general (e.g., by outlay) seek fulfilment in the promisor’s assets. Only when a binding segregation of the benefit is
made – e.g., separation and labelling of specific goods to fulfil the promise – the right to the separated goods is transferred to the transferee”.
Similarly, VP Securities has noted that “Danish law provides that legal ownership of securities vests in the end-investor having acquired title to
and received the relevant securities” (my emphasis), Note by VP Securities: “Levels of segregation offered by VP SECURITIES A/S”, dated as
of 17 August 2017, Exhibit 20. In the same note, VP Securities has for omnibus accounts noted: “However legal ownership to securities kept in
an omnibus account requires the investor to be able to prove ownership when the assets have been commingled with similar assets belonging to
other investors and/or the participant’s own assets. The participant is obliged by Danish law to maintain a register (account) for each client
showing such legal ownership to the securities. Provided that the participant has acted prudently the end-investor should be able to provide
such proof of ownership. A transfer of an account to another participant cannot be completed before the client has proved ownership to the
securities towards the estate.”
43
   For an international perspective with emphasis on trading in omnibus accounts, see Chapter 9 in Matthias Haentjens et al.: European Banking
and Financial law, 2015, Exhibit 35.


                                                                                                                                           Page 15 of 47
   Case 1:18-md-02865-LAK                                 Document 836                      Filed 06/27/22                    Page 16 of 49
                                                   Report of          :   Mr. Henning Aasmul-Olsen
                                                   Specialist field   :   Danish Law
                                                   Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                   Prepared for       :   United States District Court, Southern District of New York




  commingled in the custody of a custodian. This applies inter partes, not only as a mean of perfection to

  protect from third parties as inaccurately stated in Pilgaard Decl. ¶ 153.

  46.         Segregation is the standard for recognising ownership to assets that are commingled in the hands

  of a seller or a custodian44. Segregation is irrelevant if the seller or the custodian has no assets of the

  relevant type. The Defendants have stated that a “custodian does not need shares for an investor to be

  the owner of them”, Defendants’ Motion page 55. I disagree. A custodian downstream from VP Secu-

  rities must hold shares that can be traced upstream through every level of custody until the VP Securities

  level and in every such level the shares must be segregated, see also Paragraphs 51-53. If either of the

  two fails, the investor will have no ownership.

  47.         I understand that Defendants claim ownership to Danish securities through certain custodians

  associated with Sanjay Shah (the “Solo Custodians”). If the Solo Custodians held Danish shares for

  the Defendants, those would need to be held both at VP Securities and all intermediate sub-custodians

  between the Solo Custodians and VP Securities. I understand that Sanjay Shah, the principal behind the

  Solo Custodians, and the Solo Custodians’ counsel, identified several such sub-custodians. If those

  sub-custodians did not hold any shares for the Solo Custodians, then it is impossible as a matter of

  Danish law for the Defendants to own the Danish shares they claimed to own.

  48.         Delivery of a share at settlement of a trade is obviously adequate segregation45. Such delivery

  at settlement concludes the trade inter partes and to the rest of the world. The appropriate method of

  delivery will depend upon the way the share is issued and held. Possibly, there could be other segrega-

  tion measures that do not qualify as delivery of a share, but which would be sufficient segregation to

  transfer ownership. The successful completion of clearance for shareholdings registered to the name of

  the owner in VP Securities is likely one.




44
    The rightsholder must prove that the standard for segregation is satisfied. Crucial are; whether (i) there has been a separation of objects that
(ii) corresponds to the agreed, if (iii) the separation has authority (in the parties’ agreement or special legal provisions), if (iv) the purchaser has
been notified of the separation, and (v) if the separation appears to be “ordinary” or “binding”. See Michael Elmer et al, Ejendomsretten 1, 4th
ed. 1999, page 51-60, Exhibit 36, with reference to Supreme Court ruling of 28 May 1954 (Reference: Ugeskrift for Retsvæsen.1954.673H) and
see also Ulrik Rammeskov Bang Pedersen: “Rettigheder over værdipapirer. Individualisering og sikringsakt” in Juristen no. 4 – 2004, page 178,
Exhibit 37.
45
    See Note by VP Securities: “Levels of segregation offered by VP SECURITIES A/S”, dated as of 17 August 2017, Exhibit 20: “Danish law
provides that legal ownership of securities vests in the end-investor having acquired title to and received the relevant securities” (my emphasis).


                                                                                                                                             Page 16 of 47
   Case 1:18-md-02865-LAK                                Document 836                      Filed 06/27/22                    Page 17 of 49
                                                  Report of          :   Mr. Henning Aasmul-Olsen
                                                  Specialist field   :   Danish Law
                                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                  Prepared for       :   United States District Court, Southern District of New York




  49.        For shares held in individual accounts and end-investor accounts made at VP Securities, shares

  will be registered to the name of each investor as from delivery, i.e. the concurrent time of settlement

  of the trade and registration for perfection purposes46. As from that time, the ownership of such named

  investor will be deemed effectively segregated47.

  50.        For shares held in omnibus accounts at VP Securities, there will be no registration in VP Secu-

  rities to the name of each investor, and investors would have to rely on other means of segregation. This

  comes in the form of registers maintained by financial institutions acting as Account Holding Institu-

  tions in VP Securities. Under Section 72(3) of the Danish Financial Business Act, Exhibit 3, each such

  financial institution must maintain a register for each client showing the client’s legal ownership to the

  shares, and under Section 72(7) of the Danish Financial Business Act, Exhibit 3, such register, if kept

  properly in accordance with law, will permit each client to retrieve its shares in case of insolvency

  proceedings48. In addition to maintenance of a register, financial institutions must (1) advise clients on

  the legal effects of the omnibus account, and (2) procure an express consent to the omnibus account

  from the client.

  51.        The obligation to maintain a register (and the other regulatory requirements set out in this Sec-

  tion III.C) also applies to financial institutions acting as sub-custodians downstream from VP Securities

  and being subject to Danish law49. In case of a chain of custodians, each custodian must satisfy the

  obligation to maintain a properly kept register or, if not, the ownership of the end-investor is at risk.




46
   Prior to settlement, VP Securities performs clearance based on preadvice from the parties to a trade. VP Securities believes that some protection
of ownership is available from clearance. The preadvices are matched to ascertain whether the purchase price and the settlement date correspond.
Then, if the validity period specified in the instruct coincide, the transfer order is deemed final and entered into the systems of VP Securities (VP
Securities’ Clearing rules, 24 June 2013, page 8, Exhibit 38, and the Danish Securities Trading Act Section 57 c, subsection 1, item 1), Exhibit
1. At this point, the transfer order cannot be cancelled or revoked unilaterally by either of the parties, a VP participant or a third party (VP
Securities’ Clearing rules, 24 June 2013, page 8, Exhibit 38 and the Danish Securities Trading Act Section 57 c, subsection 1, item 2), Exhibit
1. Consequently, the transfer order is now “ready for settlement”. Should a participant in VP Securities’ system file for bankruptcy or become
subject to a similar insolvency event, if a transfer order which involves the participant is deemed “ready for settlement”, VP Securities will
complete settlement of the transfer order; provided that the transfer order is deemed “ready for settlement” prior to VP Securities’ receipt of the
notice of bankruptcy or similar insolvency event (VP Securities’ Clearing rules, 24 June 2013, page 8, Exhibit 38).
47
    See Note by VP Securities: “Levels of segregation offered by VP SECURITIES A/S”, dated as of 17 August 2017, Exhibit 20. See also Ulrik
Rammeskov Bang Pedersen: “Rettigheder over værdipapirer. Individualisering og sikringsakt.” in Juristen no. 4 – 2004, pages 176-189, Exhibit
37.
48
    Id. and Thomas Brenøe et al.: Lov om finansiel virksomhed (En. Danish Financial Business Act with commentaries), 2019, pages 418-419,
Exhibit 39.
49
    The rules will also apply in the other EU Member States as Section 72 of the Danish Financial Business Act, Exhibit 3, implements MIFID
II, Articles 16 and 23, Exhibit 40. International market practise is represented in ISSA: Financial Crime Compliance Principles for Securities
Custody and Settlement, dated August 2015, Exhibit 41.


                                                                                                                                           Page 17 of 47
   Case 1:18-md-02865-LAK                               Document 836                      Filed 06/27/22                    Page 18 of 49
                                                 Report of          :   Mr. Henning Aasmul-Olsen
                                                 Specialist field   :   Danish Law
                                                 Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                 Prepared for       :   United States District Court, Southern District of New York




  52.        As a matter of Danish law, ownership of the end-investor to shares must be supported by agency

  relations in the entire chain of custody. If all custodians were subject to Danish law, there would be an

  additional requirement of segregation in each link of the chain for the end-investor’s ownership to be

  recognized. It is evident from industry best practices, recommendations, and studies50 that a similar

  requirement of segregation in each link applies in many other jurisdictions for an end-investor to be

  able to claim ownership to securities held by a custodian, be it a global or a sub-custodian51.

  53.        If, as the Plaintiff claims52, the Solo Custodians had no Danish shares, and no seller ever deliv-

  ered any actual shares to any purchaser for the benefit of the Solo Custodians, then under Danish law a

  contract to sell shares that such seller does not have and never delivers cannot convey any ownership of

  any kind over shares in any Danish company. If the Solo Custodians’ sub-custodians held no shares for

  the Solo Custodians, then no shares were delivered to the Solo Custodians’ customers.

  54.        Pilgaard’s contrary view alleging that ownership is transferred at the time of a final and binding

  agreement without delivery of shares, see Pilgaard Decl. ¶¶ 156-157 is based upon Skatteforvaltningen’s

  Legal Guide and a series of judicial decisions set out therein and outlined in Pilgaard Decl. ¶¶ 158-170.

  Neither the Legal Guide nor the decisions support Pilgaard’s view. The issue addressed in the Legal

  Guide and the decisions was not the conditions for transfer of ownership but rather the effective time for

  tax purposes in circumstances where the conditions for transfer of ownership unquestionably are and




50
   European Post Trade Forum Report, 15 May 2017, IOSCO Recommendations Regarding the Protection of Client Assets – Final Report,
January 2014, Exhibit 30, ISSA Report on Inherent Risks within the Global Custody Chain, February 2017, Exhibit 29, and Association for
Financial Markets in Europe, Post Trade Division: Client Asset Protection Task Force – AFME Principles on Asset Segregation, Due Diligence
and Collateral Management, September 2016 (“AFME Principles on Asset Segregation”), Exhibit 42.
51
   Segregation was the EU wide standard for ownership in the Relevant period absent a legislative harmonisation of ownership requirements in
the Member States, see European Post Trade Forum Report, 15 May 2017, page 85, Exhibit 30, where the following is further provided for:
“There are no harmonised EU rules on the legal position of the end investor in book entry securities. Across the EU, Member States have
developed legal mechanisms which are intended to ensure that an end investor enjoys in rem “ownership” of securities, notwithstanding that a
chain of intermediaries may separate the end investor from the issuer. These mechanisms work reasonably well within each Member State. But
the mechanisms differ from each other and can come into conflict if the chain of intermediaries crosses borders.” The International Organization
of Securities Commissions (IOSCO) recommended action by custodians to safeguard clients’ securities by measures to control segregation. For
example, the IOSCO Recommendations Regarding the Protection of Client Assets, Exhibit 43, not only provide for the custodian itself to main-
tain arrangements to safeguard client assets (Principle 3 of the IOSCO Recommendations Regarding the Protection of Client Assets) – they also
require continuous review of the arrangements for safeguarding client assets implemented by any third-party custodian, which the custodian has
engaged to hold its clients’ assets (Id., explanatory note 3 to Principle 3). See also ISSA’s report on the Inherent Risks in the Global Custody
Chain, which provides for ongoing validation and reconciliation procedures to be implemented by each custodian in the chain (ISSA’s report on
the Inherent Risks in the Global Custody Chain, pages 9-10 and 34, Exhibit 29). The AFME Principles on Asset Segregation requires full
segregation for internal accounts (accounts opened on the books of the custodian to reflect the holdings its clients have with it) and segregation
between proprietary assets and securities held on behalf of customers for external accounts (accounts, which are accounts opened by the custodian
with a third party custodian) (page 13 of the AFME Principles on Asset Segregation, Exhibit 42).
52
   See page 40, section VI A, subsections 132-138, Expert Report of Bruce G. Dubinsky, where the Plaintiff’s forensic expert Bruce G. Dubinsky
describes how the Solo Custodians and their sub-custodians never held any shares.


                                                                                                                                          Page 18 of 47
     Case 1:18-md-02865-LAK                             Document 836                      Filed 06/27/22                    Page 19 of 49
                                                 Report of          :   Mr. Henning Aasmul-Olsen
                                                 Specialist field   :   Danish Law
                                                 Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                 Prepared for       :   United States District Court, Southern District of New York




     were satisfied53. This is evident in the Legal Guide Section C.B.2.1.6.1, Exhibit 7, explicitly defining

     timing as the scope for the commentary: “The section describes when a share is acquired or disposed

     of” (my emphasis). The legal decisions all rule on facts where the trades were completed and no issue

     of lack of segregation was relevant as they all were private companies with materialized shares. The

     timing aspects of taxation was also the only issue before and ruled on by the Supreme Court in

     SKM2001.12654, Exhibit 8. The Supreme Court ruled that ownership passed at the time of issue of a

     broker trade confirmation55 but that cannot be construed to imply that the conditions for ownership were

     met by virtue of the trade confirmation56.

     55.       Consequently, both the guidance and the case law referred to by Pilgaard deal with instances

     where (i) the seller of the share owned the share(s) transferred, and (ii) the share sale and purchase was

     ultimately completed by delivery of the shares, possibly after exercise of a put or call option, and are

     thus irrelevant in the context of determining what is required to transfer ownership to dematerialised

     shares.



     D.        ED&F Man – Recycling Of Shares

     56.       According to the Rosenblatt Investigation Report, dated 16 September 2019, Exhibit 10, sub-

     mitted to the FCA on behalf of ED&F Man, ED&F settled the trades of all shares in the so-called Annex

     E trades57 by recycling a much smaller number of shares that ED&F held in custody with BNP Paribas

     multiple times over the course of the settlement day, see pages 8-10, sections 5-7, of the Rosenblatt

     Investigation Report. While delivering and redelivering the same shares over and over again may have




53
   See Appendix 5 for a brief description of the cases referenced by Mr. Pilgaard.
54
   Ugeskrift for Retsvæsen 2001.893H, Exhibit 8. The case before the Western High Court contains the argumentation of the High Court, which
the Supreme Court wholly agrees with and refers to (Western High Court Ruling of 25 November 1999, section 6, B-2838-97, Exhibit 9).
55
   A broker trade confirmation would normally refer to a trade confirmation for listed shares. However, this was not the case in this Supreme
Court Ruling, as the ruling concerned shares in a private limited liability company, the shares of which cannot be listed in Denmark.
56
   In the Defendant’s pleading for the Danish Tax Tribunal, see Sections 65-71, Pilgaard refers to the preparatory works to the Danish Taxation
of Capital Gains on Shares Act (see page 117 of Decision of the Danish Tax Tribunal, Skatteforvaltningen v. The FWC Capital LLC Pension
Plan (case no. XX-XXXXXXX) Exhibit 45). However, the preparatory works merely confirm that it is solely the effective time for tax purposes that
is determined by the entry into of a final and binding sales agreement. See also Sorensen Dep. 61:22-24 where Sorensen states that no book entry
is made in VP Securities on the trade date.
57
   As I understand based on information provided by the Plaintiff, the “Annex E trades” are the trades which formed the basis for the tax vouchers
produced by ED&F Man, as particularised in Annex E to ED&F’s Amended Defence in the English litigation, in order to receive dividend tax
refunds from the Plaintiff.


                                                                                                                                          Page 19 of 47
   Case 1:18-md-02865-LAK                                Document 836                      Filed 06/27/22                    Page 20 of 49
                                                  Report of          :   Mr. Henning Aasmul-Olsen
                                                  Specialist field   :   Danish Law
                                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                  Prepared for       :   United States District Court, Southern District of New York




  been effective to settle outstanding trades, this recycling of the same shares in the course of intraday

  settlement cannot - as a matter of Danish law - create shares or dividends.

  57.        As I noted above in Paragraph 16, for dematerialised shares, at any given time, the total number

  of shares in any given share class will be registered by the Danish Business Authority and will match

  the total share capital and the total number of shares created in the systems operated by VP Securities.

  No additional shares can be created anywhere without several corporate formalities at the initiative of

  the issuer, and under Danish law a custodian cannot create additional shares by recycling them for set-

  tlement purposes.

  58.        Similarly, no additional dividends can be created anywhere without several corporate formali-

  ties at the initiative of the issuer, and under Danish law a custodian cannot create additional dividends

  by recycling shares for settlement purposes. Under Danish law, a proposal by the Board of Directors,

  and a resolution adopted by the general meeting by which dividends are declared, will express a specific

  amount for the total amount of dividends declared, and, in most cases of publicly traded companies, the

  dividend per share in Danish Kroner. The numeric expression is a fixed figure, not an interval or range,

  and it will be easily identifiable both in the proposal and the resolution. For listed companies, the amount

  of dividends proposed and declared will be announced to the market in a formal company announcement

  both at the time of proposal and adoption. In sum, a dividend issued by a company is a fixed amount

  that cannot be changed by the actions of market participants.

  59.        Companies can only pay dividends through VP Securities58. The payment by VP Securities (net

  of WHT) discharges the company and VP Securities (if made in good faith and save for forgery or

  duress)59. Once payment has been completed by VP Securities, the company has no additional obliga-

  tions in respect of the dividend distribution and any legal right against the company that the shareholders

  had in respect of dividends will have terminated. The amount set forth in the corporate resolution as the


58
   A prerequisite for registration with VP Securities is that dividends are paid through VP Securities in accordance with its rules, see page 293
of VP Securities’ System Guidelines, 19 December 2011, Exhibit 27, and page 5 of VP Rules A-D, applicable as of 17 June 2013, Exhibit 28,
where VP Securities refers to Section 71, subsection 2, of the Danish Securities Trading Act, Exhibit 1, and adds that: “[…] An issuer’s provisions
[in its articles of association] that prescribe payments [of interest, dividends and capital] in a different way, i.e. by registration in the share-
holders’ register, are not in accordance with the procedure for dematerialised assets.” (my insertions and emphasis) VP Securities further states
that: “Consequently, it is a condition for registration of dematerialised securities with VP Securities that the terms of the securities allow VP
Securities to act as a payment intermediary [of interest, dividends and capital]” (my insertions and emphasis).
59
   Section 71, subsection 2, of the Danish Securities Trading Act, Exhibit 1.


                                                                                                                                           Page 20 of 47
   Case 1:18-md-02865-LAK                                Document 836                      Filed 06/27/22                    Page 21 of 49
                                                  Report of          :   Mr. Henning Aasmul-Olsen
                                                  Specialist field   :   Danish Law
                                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                  Prepared for       :   United States District Court, Southern District of New York




  dividends declared will (absent a default by the Company, a default by VP Securities or non-discharging

  payments by VP Securities) be the same amount as the aggregate amount paid by VP Securities as

  discharging and no other payment by a company of dividends would be lawful. So, while the dividends

  in the corporate law meaning express the equity distribution of distributable reserves to the shareholders,

  the cash flow associated with the dividends (in the exact same amount) will necessarily come by way

  of VP Securities’ payment.

  60.        Any trading in the underlying shares on or about the declaration date or contractual arrange-

  ments in respect of dividends is legally of no consequence to the company distributing the dividends.

  No additional dividends will be created since, from the point of view of the company, the carrier of the

  dividend is the underlying share, not any particular shareholder or holder of dividend rights, and the

  number of shares is constant irrespective of trading or assignments60. Accordingly, a custodian cannot

  create additional dividends by recycling the same shares multiple times to settle multiple purchases on

  the same day.



  E.         The Term “Beneficial Ownership”

  61.        The Defendants’ Motion sometimes refers to the term “beneficial ownership” in the context of

  ownership to shares, see, e.g. pages 21 and 23. The term “beneficial ownership” as used in the “Double

  Taxation Convention between Denmark and the United States of America”61 is a construct defining

  recipients of payments, primarily dividends, for the purpose of allocating taxation between the two na-

  tions.

  62.        As already noted in Paragraph 42, the ownership construct in Danish tax laws and Danish civil

  laws is the same and has the meaning set out in the opinions herein. The concept of “beneficial owner-

  ship” is not a Danish law concept and does not denote a special form of ownership for shares issued by


60
   As a general rule, the Danish Companies Act attaches the right to receive dividends to shares rather than shareholders, see for example Sections
158, item 4, 159, subsection 3, item 3, 162, subsection 3, 237, subsection 3, item 4, and section 326, subsection 3, item 4, Exhibit 11. The articles
of association of companies do the same either explicitly or implicitly.
61
   The Convention between the Government of the United States of America and the Government of the Kingdom of Denmark for the Avoidance
of Double Taxation and the Prevention of Fiscal Evasion with Respect to Taxes on Estates, Inheritances, Gifts and certain other Transfers of 27
April 1983 with subsequent amendments the latest being the Protocol Amending the Convention between the Government of the Kingdom of
Denmark and the Government of the United States of America for the Avoidance of Double Taxation and the Prevention of Fiscal Evasion with
Respect to Taxes on Income of 2 May 2006.


                                                                                                                                           Page 21 of 47
         Case 1:18-md-02865-LAK                              Document 836                      Filed 06/27/22                    Page 22 of 49
                                                      Report of          :   Mr. Henning Aasmul-Olsen
                                                      Specialist field   :   Danish Law
                                                      Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                                      Prepared for       :   United States District Court, Southern District of New York




        a Danish company. In particular, “beneficial ownership” does not imply that two trading parties can

        create a share of a Danish company or a dividend that does not exist. If shares or dividends do not exist,

        they cannot be owned, beneficially or otherwise. Danish law does not recognize ownership of shares or

        dividends that do not exist.



IV.     Recent Danish Decisions

        A.         The Bech-Bruun Decision

        63.        The issue in the case Skatteforvaltningen v. Bech-Bruun Advokatpartnerselskab P/S62 was

        whether a lawyer of the law firm of Bech-Bruun had acted negligently in advising North Channel Bank

        regarding a dividend tax refund scheme63 and whether, as a result, the law firm was liable to pay dam-

        ages to Skatteforvaltningen.

        64.        The High Court rejected liability for the law firm on the ground that the lawyer advising had

        not acted negligently64. In deciding that issue, the High Court noted:


                   “The High Court notes that implementing the tax set-up as proforma or without any
                   shares and actual cashflows must be deemed to be ordinary fraud under criminal law
                   that is merely disguised by complicated transactions.”



        B.         Cases before the Danish Tax Tribunal

        65.        The issues addressed by me in this Declaration have been decided by Danish case precedents65.

        In 2018-19, the pension plans in each of the seven Bellwether cases66 brought claims against Skattefor-

        valtningen before the Danish Tax Tribunal, the supreme administrative appeal body for tax cases.



      62
         Eastern High Court Ruling of 28 April 2022. Reference: BS-26436/2020-OLR, Exhibit 44. Only the Court’s ruling and holdings have been
      made available to me.
      63
         The North Channel Bank accepted that the scheme, in which the bank issued dividend credit vouchers reflecting the plans purported ownership
      of shares and dividends but in fact never held any shares or received any dividends for the plans, was tantamount to fraud and pleaded guilty in
      a criminal case, see Gunnar Volkers Dep., e.g. 24:2-25:8, and 71:4-13.
      64
         The judgement has been appealed to the Supreme Court by Skatteforvaltningen on the negligence point for the law firm but not on merits or
      legal qualification of the tax refund schemes operated by North Channel Bank.
      65
         For the purpose of Paragraph 65, I have relied on case information made available by SKAT for the purpose of this Declaration.
      66
         RJM Capital Pension Plan, Basalt Ventures LLC Roth 401(K) Plan, Roadcraft Technologies LLC Roth 401(K) Plan, The FWC Capital LLC
      Pension Plan, The Proper Pacific LLC 401(K) Plan, American Investment Group of New York, L.P. Pension Plan, and Riverside Associated
      Defined Benefit Plan.


                                                                                                                                               Page 22 of 47
     Case 1:18-md-02865-LAK                           Document 836                      Filed 06/27/22                    Page 23 of 49
                                               Report of          :   Mr. Henning Aasmul-Olsen
                                               Specialist field   :   Danish Law
                                               Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                               Prepared for       :   United States District Court, Southern District of New York




     Decisions of the Danish Tax Tribunal are appealable to the Danish courts. Mr. Pilgaard and the law firm

     in which he is a partner, TVC Advokatfirma København P/S, represented three of the Bellwether plain-

     tiffs67. The Bellwether plan plaintiffs in the Danish Tax Tribunal cases asserted that Skatteforvalt-

     ningen’s decisions to cancel its previous decisions about dividend refund payments were unlawful. In

     the summer of 2020, three of the complaints made by the Bellwether plan plaintiffs were withdrawn by

     the plaintiffs in the cases68. In the remaining four Bellwether plan cases, the Danish Tax Tribunal upheld

     Skatteforvaltningen’s decision to cancel the previous decision about dividend refund payments69. One

     case out of the seven cases related to the Bellwether plan plaintiffs was appealed but the appeal was

     withdrawn by the plaintiff70. Thus, all Danish proceedings brought by the Bellwether plan plaintiffs

     have been concluded, with Skatteforvaltningen successful in each case for which the Tribunal rendered

     a decision.

     66.     In the cases brought by the FWC Capital LLC Pension Plan and the Proper Pacific LLC 401(K)

     Plan before the Tribunal, the defendants argued in relation to ownership of shares that:

     (i)     ownership to a share is transferred when a final and binding and unconditional agreement be-

             tween the parties has been validly concluded71;

     (ii)    settlement of a share trade is no precondition for the transfer of ownership72;

     (iii)   documentation of cash flow from purchaser to seller is not required to evidence a transfer of

             ownership to a share in a Danish company73;

     (iv)    documentation of transfer of a share from seller’s securities depository to purchaser’s securities

             depository is not required to evidence a transfer of ownership to a share in a Danish company74;




67
   Roadcraft Technologies LLC Roth 401(K) Plan, The FWC Capital LLC Pension Plan, and The Proper Pacific LLC 401(K) Plan.
68
   RJM Capital Pension Plan, Basalt Ventures LLC Roth 401(K) Plan, and Roadcraft Technologies LLC Roth 401(K) Plan
69
   The FWC Capital LLC Pension Plan, The Proper Pacific LLC 401(K) Plan, American Investment Group of New York, L.P. Pension Plan,
and Riverside Associated Defined Benefit Plan
70
   American Investment Group of New York, L.P. Pension Plan.
71
   Decision of the Danish Tax Tribunal, Skatteforvaltningen v. The FWC Capital LLC Pension Plan (case no. XX-XXXXXXX), page 116, Exhibit
45, and Decision of the Danish Tax Tribunal: Skatteforvaltningen v. Proper Pacific LLC 401(k) Plan (case no. XX-XXXXXXX), dated July 26,
2020), page 119, Exhibit 46. See also Defendants Motion pages 7 and 19 citing Pilgaard Decl. ¶¶ 155-156.
72
   Id. page 116, Exhibit 45, and Id. Page 119, Exhibit 46. See also Defendants Motion pages 7 and 24 citing Pilgaard Decl. ¶ 162. See to the
contrary Sorensen Dep. 64:24-65:7.
73
   Id. page 116, Exhibit 45, and Id. Page 119, Exhibit 46.
74
   Id. page 116, Exhibit 45, and Id. Page 119, Exhibit 46.


                                                                                                                                        Page 23 of 47
     Case 1:18-md-02865-LAK                           Document 836                      Filed 06/27/22                    Page 24 of 49
                                               Report of          :   Mr. Henning Aasmul-Olsen
                                               Specialist field   :   Danish Law
                                               Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                               Prepared for       :   United States District Court, Southern District of New York




     (v)     a purchaser of a share is the owner of the share prior to the share being registered in such per-

             son’s securities depository75;

     (vi)    the trade date appearing on the trade confirmation is the time of transfer of ownership;76 and

     (vii)   that they had provided sufficient documentation for the stock trades in question, including trade

             confirms, broker confirms, custody statements from the Solo custodians, and dividend credit

             advices from the Solo Custodians.77


     67.     Similarly, in the cases brought by American Investment Group of New York, L.P. Pension Plan

     and Riverside Associated Defined Benefit Plan by AIG and Riverside, the defendants argued that they

     were the civil law owner of the shares in question and that the plans were the taxable rightful owner of

     the shares in question. They supported this argument by submitting trade confirmations, account state-

     ments, and other supporting documentation.78

     68.     The Danish Tax Tribunal dismissed all of the defendants’ claims79. Most notably, the Danish

     Tax Tribunal stated that: “… refund of dividend withholding tax is conditional upon the [defendant]

     having owned shares and that the [defendant] has received dividends from these shares from which

     dividend tax was withheld in connection with payment of dividends. It is the [defendant’s] burden to

     prove that these conditions were fulfilled […]. The Danish Tax Tribunal determines that the [defendant]

     failed to prove that this was the case” (my translation and insertion)80.




75
   Id. page 116, Exhibit 45, and Id. Page 119, Exhibit 46.
76
   Id. page 117, Exhibit 45, and Id. Page 120, Exhibit 46. See also Defendants Motion pages 7 and 9 and Pilgaard Decl. ¶¶ 151, 157, 168, 170.
77
   Decision of the Danish Tax Tribunal: Skatteforvaltningen v. The FWC Capital LLC Pension Plan (case no. XX-XXXXXXX), page 226, Exhibit
45, and Danish Tax Tribunal: Skatteforvaltningen v. Proper Pacific LLC 401(k) Plan (case no. XX-XXXXXXX), dated July 26, 2020), page 228,
Exhibit 46.
78
   Decision of the Danish Tax Tribunal: Skatteforvaltningen v. The American Investment Group of New York L.P. Pension Plan (case no. 18-
0005426), page 48-50, Exhibit 47. Decision of the Danish Tax Tribunal: Skatteforvaltningen v. Riverside Associates Defined Benefit Plan (case
no. XX-XXXXXXX), page 29-31, Exhibit 48.
79
   See Decision of the Danish Tax Tribunal: Skatteforvaltningen v. The American Investment Group of New York L.P. Pension Plan (case no.
XX-XXXXXXX), dated July 7, 2021, Exhibit 47; Decision of the Danish Tax Tribunal: Skatteforvaltningen v. Riverside Associates Defined Benefit
Plan (case no. XX-XXXXXXX), dated October 2, 2020, Exhibit 48; Decision of the Danish Tax Tribunal: Skatteforvaltningen v. The FWC Capital
LLC Pension Plan (case no. XX-XXXXXXX), dated July 16, 2020, Exhibit 45; Decision of the Danish Tax Tribunal: Skatteforvaltningen v. Proper
Pacific LLC 401(k) Plan (case no. XX-XXXXXXX) dated July 26, 2020), Exhibit 46.
80
   Decision of the Danish Tax Tribunal, Skatteforvaltningen v. The FWC Capital LLC Pension Plan (case no. XX-XXXXXXX), page 227, Exhibit
45.


                                                                                                                                        Page 24 of 47
   Case 1:18-md-02865-LAK                            Document 836                      Filed 06/27/22                    Page 25 of 49
                                              Report of          :   Mr. Henning Aasmul-Olsen
                                              Specialist field   :   Danish Law
                                              Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                              Prepared for       :   United States District Court, Southern District of New York




  69.       In its decision, the Danish Tax Tribunal held that81:

  (i)       the defendant was a newly established pension plan with no financial means to perform the

            alleged share purchases;

  (ii)      the defendant had not proved that it had purchased the shares and was the owner of such shares

            or that it had received any dividends;

  (iii)     the documentation provided by the defendant regarding the share transactions (purchase and

            sale, share lending, and forward contracts) did not evidence the defendant’s ownership of shares



  On these grounds, the Danish Tax Tribunal held that the necessary connection which would evidence

  share transactions having flowed through the defendant’s financials had not been evidenced. Moreover,

  the Danish Tax Tribunal held, in pertinent part, that82:


  (iv)      the defendant had not provided documentation to evidence that the defendant had paid any cap-

            ital to the custodian or other parties involved in the share transactions; and

  (v)       the defendant had solely provided fictious contracts, custodial statements, broker confirmations

            etc. with the custodian or other players acting in the alleged share transactions, which did not

            evidence that the custodian had traded shares on behalf of the defendant.



  70.       The Danish Tax Tribunal concluded that the defendant could not be considered as the owner of

  the shares and could not be deemed to have received dividends. As a result, the Danish Tax Tribunal

  decided that Skatteforvaltningen had paid out dividend refunds on an inaccurate basis and that it was

  legitimate to cancel the dividend refund payments83.

  71.       Consequently, the Defendants have unsuccessfully submitted the same argumentation for the

  allegations as they now do in the Dispute.


81
   Decision of the Danish Tax Tribunal, Skatteforvaltningen v. The FWC Capital LLC Pension Plan (case no. XX-XXXXXXX), page 227, Exhibit
45.
82
   Decision of the Danish Tax Tribunal, Skatteforvaltningen v. The FWC Capital LLC Pension Plan (case no. XX-XXXXXXX), page 227, Exhibit
45.
83
   Decision of the Danish Tax Tribunal, Skatteforvaltningen v. The FWC Capital LLC Pension Plan (case no. XX-XXXXXXX), page 227, Exhibit
45.


                                                                                                                                       Page 25 of 47
Case 1:18-md-02865-LAK   Document 836   Filed 06/27/22   Page 26 of 49
  Case 1:18-md-02865-LAK                  Document 836                      Filed 06/27/22                    Page 27 of 49
                                   Report of          :   Mr. Henning Aasmul-Olsen
                                   Specialist field   :   Danish Law
                                   Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                   Prepared for       :   United States District Court, Southern District of New York




Appendix 1 – Curriculum vitae of Mr. Henning Aasmul-Olsen

Experience

Present and past positions
 Year              Activity
 2018-             Partner at Moalem Weitemeyer Advokatpartnerselskab; heading the
                   firm’s Capital Markets and Corporate Finance practises


 2016-2018         Partner at Horten Law Firm


 2010-2016         Partner at Bruun & Hjejle Law Firm


 2007-2010         Executive director and co-head of Corporate Finance at Danske Bank
                   (the largest bank in Denmark); Strategic and Financial advisory


 2006-2007         Senior Advisor at Carnegie Investment Bank; Strategic and Financial
                   Advisory


 1996-2006         Partner and Managing Partner at Jonas Bruun Law Firm


 1991-1996         Associate at Jonas Bruun Law Firm


 1985-1990         Associate at Hjejle Gersted & Mogensen Law Firm




Selected Work
For years, Henning Aasmul-Olsen have advised clients on corporate transactions, mostly M&A and cap-
ital markets transactions such as public-to-private M&A and defense work, IPOs, accelerated bookbuild
offerings and rights issues.


According to Mergermarket, Henning Aasmul-Olsen is among the most active M&A lawyers in Den-
mark, measured by deal value in the period from 1 January 2011 when he returned to legal practise after
four years as an investment banker. Henning is credited with a deal value of EUR 30.5 bn in aggregate
for that period.




                                                                                                                            Page 27 of 47
  Case 1:18-md-02865-LAK                  Document 836                      Filed 06/27/22                    Page 28 of 49
                                   Report of          :   Mr. Henning Aasmul-Olsen
                                   Specialist field   :   Danish Law
                                   Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                   Prepared for       :   United States District Court, Southern District of New York




Clients for capital markets work include several companies in the C 25 index served both as a legal and
a financial advisor.


Henning Aasmul-Olsen has served as a chairman of AGMs and EGMs to several publicly traded compa-
nies.


Past litigation experience includes files before the Danish Supreme Court and the CJEU.


Publications
 Year              Activity
 2020              Sustainable Finance 2020: Green Bonds and Beyond, article in Ac-
                   counting and Auditing


 2015              Chapter on Capital Markets in “Corporate Crimes”, Iversen, Karnov
                   Group


Academic qualifications

 Year              Activity
 2006-2007         Corporate Finance Modular Programme, London Business School, Lon-
                   don, United Kingdom


 1991              Master of Laws (LL.M), University of Michigan, Ann Arbor, Michigan,
                   United States, with courses in Securities Regulations and Advanced
                   Topics in Securities Regulation


 1980-1985         Master of Laws (LL.M), University of Copenhagen, Copenhagen, Den-
                   mark. Graduated with the highest-grade point average of 161 students
                   receiving the Master degree.


Professional qualifications

 Year              Activity
 1994              Privilege of audience before the Danish Supreme Court


 1989              Privilege of audience before the Danish High Courts



                                                                                                                            Page 28 of 47
  Case 1:18-md-02865-LAK                   Document 836                      Filed 06/27/22                    Page 29 of 49
                                    Report of          :   Mr. Henning Aasmul-Olsen
                                    Specialist field   :   Danish Law
                                    Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                    Prepared for       :   United States District Court, Southern District of New York




 1988               Admission to the Danish bar


 N/A                Member of the International Bar Association


Specialist Fields

My specialist fields are Danish securities laws (including corporate law) and market practises for trad-
ing, clearance, and settlement in securities traded in the public markets.




                                                                                                                             Page 29 of 47
  Case 1:18-md-02865-LAK                Document 836                      Filed 06/27/22                    Page 30 of 49
                                 Report of          :   Mr. Henning Aasmul-Olsen
                                 Specialist field   :   Danish Law
                                 Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                 Prepared for       :   United States District Court, Southern District of New York




Appendix 2 – Glossary

 Term                          Meaning


 Account Holding Institution Danish and foreign financial institutions entitled and obliged to make
                               book entry reporting in the systems of VP Securities.


 AFME Principles on Asset Association for Financial Markets in Europe, Post Trade Division: Cli-
 Segregation                   ent Asset Protection Task Force – AFME Principles on Asset Segrega-
                               tion, Due Diligence and Collateral Management, September 2016.


 Clearance                     Clearing occurs after a trade is executed. It is the process of checking
                               whether the terms of a securities sales and purchase contract can be
                               fulfilled by settlement, including checking that parties have sufficient
                               securities and money to complete the transaction as contemplated.


 CSD                           Central Securities Depository.


 CSDR                          Regulation (EU) no. 909/2014 of the European Parliament and of the
                               Council of 23 July 2014 on improving securities settlement in the Eu-
                               ropean Union and on central securities depositories and amending Di-
                               rectives 98/26/EC and 2014/65/EU and Regulation (EU) no. 236/2012.


 Court                         United States District Court for the Southern District of New York in
                               the United States of America.


 Danish Companies Act          The Danish Companies Act applicable in the Relevant Period.


 Danish Business Authority     The Danish Business Authority (Da. Erhvervsstyrelsen).


 Defendants                    Acer Investment Group, LLC, American Investment Group of New
                               York, L.P. Pension Plan, Basalt Ventures LLC Roth 401(k) Plan, Da-
                               vid Schulman, Doston Bradley, John van Merkensteijn, Michael Ben-
                               Jacob, RAK Investment Trust, Richard Markowitz, Riverside Associ-
                               ates Defined Benefit Plan, RJM Capital Pension Plan, Roadcraft Tech-
                               nologies LLC Roth 401(k) Plan, Robert Crema, Robert Klugman,


                                                                                                                          Page 30 of 47
 Case 1:18-md-02865-LAK              Document 836                      Filed 06/27/22                    Page 31 of 49
                              Report of          :   Mr. Henning Aasmul-Olsen
                              Specialist field   :   Danish Law
                              Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                              Prepared for       :   United States District Court, Southern District of New York




                             Roger Lehman, Ronald Altbach, Routt Capital Trust, Stacey Kaminer,
                             The FWC Capital LLC Plan, The Proper Pacific LLC 401K Plan, and
                             ED&F Man Capital Markets Ltd. (third-party defendant).


Defendants’ Motion           Defendants’ and Third-Party Defendant’s Memorandum in Support of
                             Motion for Summary Judgment in the Dispute, dated April 29, 2022.


Dispute                      Case no. 18-md-2865 (LAK) at the United States District Court for the
                             Southern District of New York in the United States of America.


Double Taxation Conven- The Convention between the Government of the United States of
tion between Denmark and     America and the Government of the Kingdom of Denmark for the
the United States of Amer- Avoidance of Double Taxation and the Prevention of Fiscal Evasion
ica                          with Respect to Taxes on Estates, Inheritances, Gifts and certain other
                             Transfers of 27 April 1983 with subsequent amendments the latest be-
                             ing the Protocol Amending the Convention between the Government
                             of the Kingdom of Denmark and the Government of the United States
                             of America for the Avoidance of Double Taxation and the Prevention
                             of Fiscal Evasion with Respect to Taxes on Income of 2 May 2006.


Exhibit                      An exhibit to this Declaration.


Gunnar Volkers Dep.          Remote VTC videotaped deposition under oral examination of Gunnar
                             Volkers in the Dispute dated June 8, 2021.


ISSA                         The International Securities Services Association.


MiFID II                     Directive 2014/65/EU of the European Parliament and of the Council
                             of 15 May 2014 on markets in financial instruments and amending di-
                             rective 2002/92/EC and directive 2011/61/EU.


Nasdaq Copenhagen            Nasdaq Copenhagen A/S.


Declaration                  This declaration.




                                                                                                                       Page 31 of 47
 Case 1:18-md-02865-LAK                  Document 836                      Filed 06/27/22                    Page 32 of 49
                                  Report of          :   Mr. Henning Aasmul-Olsen
                                  Specialist field   :   Danish Law
                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                  Prepared for       :   United States District Court, Southern District of New York




Pilgaard Decl.                  Declaration of Foreign Law of Kasper Bech Pilgaard in the Dispute.


Plaintiff                       The Customs and Tax Administration of the Kingdom of Denmark
                                (Skatteforvaltningen).


Plaintiff’s Motion              Plaintiff Memorandum in Support of Motion for Summary Judgment
                                dated, April 29, 2022.


Relevant Period                 The period between August 2012 and July 2015.


Paragraph                       A paragraph of this Declaration, unless otherwise stated.


Settlement                      The process where a transaction involving dematerialised securities is
                                completed and the purchaser receives the purchased securities and the
                                seller receives the corresponding payment.


Settlement      Finality   Di- Directive 98/26/EC of the European Parliament and of the Council (the
rective                         Settlement Finality Directive as amended).


Solo Custodians                 Certain custodians associated with Sanjay Shah.


Sorensen Dep.                   Remote VTC videotaped deposition under oral examination of Helen
                                Sorensen in the Dispute dated 21 September 2021.


Sorensen Dep. Vol II            Remote VTC videotaped deposition under oral examination of Helen
                                Sorensen in the Dispute dated 7 December 2021.


VP Securities                   VP Securities A/S acting in its capacity as CSD, unless otherwise set
                                forth.




                                                                                                                           Page 32 of 47
  Case 1:18-md-02865-LAK                   Document 836                      Filed 06/27/22                    Page 33 of 49
                                    Report of          :   Mr. Henning Aasmul-Olsen
                                    Specialist field   :   Danish Law
                                    Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                    Prepared for       :   United States District Court, Southern District of New York




Appendix 3 – Rules and regulations, literature and other materials considered

In preparing this Report I have considered the below material:

Regulation

 Date                    Material
 27 November 2020        The Danish Capital Markets Act as amended from time to time (Consolidated
                         Act no. 1767 of 27 November 2020).
 26 June 2020            The Danish Corporations Taxes Act as amended from time to time.
 8 August 2019           The Danish Tax Assessment Act:
                             x    2011: Consolidated act no. 1017 of 28 October 2011
                             x    2013: Consolidated act no. 405 of 22 April 2013
                             x    2014: Consolidated act no. 1041 of 15 September 2014
 8 August 2019           The Danish Financial Statements Act as amended from time to time (Consoli-
                         dated Act no. 838 of 8 August 2019).
 Amended from time The Danish Contracts Act (currently Consolidated Act no. 193 of 2 March
 to time                 2016).
 Amended from time Danish Act on Taxation of Income and Property.
 to time
 29 December 2015        The Danish State Tax Act (Consolidated Act no. 1883 of 29 December 2015).
 Applicable in the Rel- The Danish Financial Business Act:
 evant Period                x    2011: Consolidated act. no. 885 of 8 August 2011
                             x    2012: Consolidated act no. 705 of 25 June 2012
                             x    2013: Consolidated act no. 948 of 2 July 2013
                             x    2014: Consolidated act no. 928 of 4 August 2014
                         2015: Consolidated act no. 182 of 18 February 2015
 Applicable in the Rel- The Danish Securities Trading Act:
 evant Period                x    2012: Consolidated act no. 855 of 17 August 2012
                             x    2013: Consolidated act no. 219 of 20 February 2013
                             x    2013: Consolidated act no. 982 of 6 August 2013
                             x    2014: Consolidated act no. 227 of 11 March 2014
                             x    2014: Consolidated act no. 831 of 12 June 2014




                                                                                                                             Page 33 of 47
 Case 1:18-md-02865-LAK                  Document 836                      Filed 06/27/22                    Page 34 of 49
                                  Report of          :   Mr. Henning Aasmul-Olsen
                                  Specialist field   :   Danish Law
                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                  Prepared for       :   United States District Court, Southern District of New York




Applicable in the Rel- The Danish Companies Act (consolidated act no. 610 of 28 April 2015 (until
evant Period          30 June 2015) and consolidated act no. 1089 of 14 September 2015 (from 1
                      July 2015).
1 June 2015           Act no. 739 of 1 June 2015 on amendment of among other the Danish Compa-
                      nies Act.
15 May 2014           Regulation (EU) no. 600/2014 of the European Parliament and of the Council
                      (MiFIR) .
15 May 2014           Directive 2014/65/EU of the European Parliament and of the Council (MiFID
                      II).
11 December 2013      Executive Order no. 1476 on filing for registration, registrations, fees and an-
                      nouncements etc. with the Danish Business Authority.
22 October 2013       Directive 2013/50/EU of the European Parliament and of the Council (the
                      Transparency Directive Amending Directive).
26 June 2013          Executive Order no. 819 on registration of dematerialised securities with a cen-
                      tral securities depository.
5 July 2012           Commission Delegated Regulation (EU) no. 918/2012 of 5 July 2012 supple-
                      menting the Short Selling Regulation with regard to definitions, the calculation
                      of net short positions, covered sovereign credit default swaps, notification
                      thresholds, liquidity thresholds for suspending restrictions, significant falls in
                      the value of financial instruments and adverse events.
4 July 2012           Regulation (EU) no. 648/2012 of the European Parliament and of the Council
                      (EMIR).
25 June 2012          Executive Order no. 668 on major shareholders.
14 March 2012         Regulation (EU) no. 236/2012 of the European Parliament and of the Council
                      (the Short Selling Regulation).
7 December 2010       The Danish Withholding Taxes Act (Consolidated Act no. 1403 of 7 December
                      2010).
4 September 2007      Executive Order no. 1069 on the conditions for official listing of securities.
10 August 2006        Commission Directive 2006/73/EC (Implementing Directive MiFID).
2 May 2006            Convention between the Government of the Kingdom of Denmark and the
                      Government of the United States of America for the Avoidance of Double Tax-
                      ation and the Prevention of Fiscal Evasion with Respect to Taxes on Income.
21 April 2004         Directive 2004/39/EC of the European Parliament and of the Council (MiFID).
19 May 1998           Directive 98/26/EC of the European Parliament and of the Council (the Settle-
                      ment Finality Directive as amended).



                                                                                                                           Page 34 of 47
  Case 1:18-md-02865-LAK               Document 836                      Filed 06/27/22                    Page 35 of 49
                                Report of          :   Mr. Henning Aasmul-Olsen
                                Specialist field   :   Danish Law
                                Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                Prepared for       :   United States District Court, Southern District of New York




 17 August 1993      Executive Order no. 1993 of 17 August 1993 on the Copenhagen Stock Ex-
                     change.
 27 April 1983       The Convention between the Government of the United States of Ameri-ca and
                     the Government of the Kingdom of Denmark for the Avoidance of Double
                     Taxation and the Prevention of Fiscal Evasion with Respect to Taxes on Es-
                     tates, Inheritances, Gifts and certain other Transfers.
 Repealed            Danish Act on Central Securities Depositories.


Case Law

 Date                Material
 28 April 2022       Eastern High Court Ruling of 28 April 2022. Reference: BS-26436/2020-OLR.
 12 March 2020       Ugeskrift for Retsvæsen.2020.1923H.
 16 July 2020        Decision of the Danish Tax Tribunal, Skatteforvaltningen v. The FWC Capital
                     LLC Pension Plan (case no. XX-XXXXXXX).
 22 August 2006      Ugeskrift for Retsvæsen.2006.3050H.
 7 October 2005      Ugeskrift for Retsvæsen.2006.145H.
 3 December 2001     SKM2001.88.HR.
 31 January 2001     Ugeskrift for Retsvæsen.2001.893H.
 3 March 2000        Ugeskrift for Retsvæsen.2000.1413V.
 3 March 2000        TfS.1998.408 LR.
 20 March 1997       Ugeskrift for Retsvæsen.1997.762H.
 30 January 1997     Ugeskrift for Retsvæsen.1997.444H.
 9 May 1994          Ugeskrift for Retsvæsen.1994.719Ø.
 11 January 1982     Ugeskrift for Retsvæsen.1982.152H.
 12 March 1980       Ugeskrift for Retsvæsen.1980.383H.
 4 October 1978      Ugeskrift for Retsvæsen.1978.880H.
 28 June 1977        Ugeskrift for Retsvæsen.1977.686H.
 1964                Ugeskrift for Retsvæsen.1964.307V.
 8 December 1960     Ugeskrift for Retsvæsen.1961.101H.
 28 May 1954         Ugeskrift for Retsvæsen.1954.673H.


Preparatory Works and Reports

 Date                Material




                                                                                                                         Page 35 of 47
  Case 1:18-md-02865-LAK                    Document 836                      Filed 06/27/22                    Page 36 of 49
                                     Report of          :   Mr. Henning Aasmul-Olsen
                                     Specialist field   :   Danish Law
                                     Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                     Prepared for       :   United States District Court, Southern District of New York




 25 February 2015        Proposal no. 154 of 25 February 2015 on amongst other amendment of the
                         Danish Securities Trading Act.
 2010                    “Legislation on legal certainty of securities holding and disposition” cited in
                         footnote 9 of the DWF Defendants Defence.
 2008                    Preparatory works no. 1498/2008 for the Danish Companies Act (Da. Betænk-
                         ning over modernisering af selskabsretten).
 21 December 2005        Preparatory works to amendment of the Danish Tax Assessment Act Section
                         16A (act no. 1414 of 21 December 2005).
 3 February 2012         Report from the Commission – Commission Staff Working Paper – Impact
                         Assessment (SEC(2011) 1279 final/2) (TDAD Impact Assessment)
 1999                    Regnskabsrådets rapport om Revision af Årsregnskabsloven
 29 January 1986         Proposal for the Danish Stock Exchange Act with remarks.
 1985-1986               Proposal to amend the Danish Companies Act.
 29 February 1980        Proposal for the Danish Securities Trading Act with remarks.
 24 February 1905        Proposal to the Danish Sales of Goods Act with remarks.


Guidance

 Date                    Material
 Applicable in the Rel- SKAT’s Legal Guide.
 evant Period
 2014                    Statement by the Danish Business Authority.


Private Rules and Standards

 Date                    Material
 3 September 2020        VP Securities Rule Book parts 1-5.
 June 2012 and July Nasdaq Nordic Market Model.
 2015
 2 March 2020            Nasdaq Nordic Member Rules, version 3.9.
 Applicable in the Rel- Nasdaq Nordic Member Rules, versions 1.6 – 2.7.
 evant Period
 Applicable in the Rel- All articles of association of companies listed in Schedule 1A to the Particulars
 evant Period            of Claim.
 May 2019                The ISSA Financial Crime Compliance Principles for Securities Custody and
                         Settlement, second revision.



                                                                                                                              Page 36 of 47
  Case 1:18-md-02865-LAK                Document 836                      Filed 06/27/22                    Page 37 of 49
                                 Report of          :   Mr. Henning Aasmul-Olsen
                                 Specialist field   :   Danish Law
                                 Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                 Prepared for       :   United States District Court, Southern District of New York




 May 2019             Background & Overview to ISSA Financial Crime Compliance Principles for
                      Securities Custody and Settlement, first revision.
 14 December 2015     Nasdaq Reporting Guideline, version 1.9, Members’ On Exchange trade and
                      Members’ and Non-Members’ OTC trade Reporting.
 27 August 2015       The ISSA Financial Crime Compliance Principles for Securities Custody and
                      Settlement, first revision.
 27 August 2015       Background & Overview to ISSA Financial Crime Compliance Principles for
                      Securities Custody and Settlement, first revision.
 2015                 Chartered Financial Analyst Society Denmark, Recommendations and Ratios.
 23 June 2013         VP Securities’ Clearing Rules, applicable as of 23 June 2013.
 17 June 2013         VP Securities’ Rules A- D, applicable as of 17 June 2013.
 2012                 Market Standards for Corporate Actions Processing, by Corporate Actions
                      Joint Working Group.
 19 December 2011 to VP Securities’ System Guidelines.
 10 August 2015
 2002                 Custody Services, Controller’s Handbook, by Controller of the Currency Ad-
                      ministrator of National Banks.
 5 February 2002      Standard terms and conditions for stock lending agreements prepared by the
                      Danish Bankers’ Association and the Danish Securities Dealers’ Association,
                      5 February 2002, journal no. 613/03, doc no. 29094.


Literature

 Date                 Material
 2021                 The Complex Commercial Litigation Law Review: Denmark, published in The
                      Law Reviews on 14 January 2021, by Dan Terkildsen and Emil Hald Win-
                      strøm.
 2020                 Almindelig kontraktsret, by Bernhard Gomard, Hans Viggo Godsk Pedersen
                      & Anders Ørgaard.
 2020                 Årsregnskabsloven med kommentarer, by Henrik Steffensen.
 2019                 Securities and Capital Markets Law (Da. Børs- og Kapitalmarkedsret), 6th edi-
                      tion, by Peer Schaumburg-Müller and Erik Werlauff.
 2019                 Selskabsret, 11th edition, by Erik Werlauff.
 2019                 Danish Financial Business Act - with commentaries (Da. Lov om finansiel
                      virksomhed – med kommentarer), 4th edition, by Thomas Brenøe, Marianne
                      Simonsen, Merete Hjetting and Malene Stadil.


                                                                                                                          Page 37 of 47
 Case 1:18-md-02865-LAK           Document 836                      Filed 06/27/22                    Page 38 of 49
                           Report of          :   Mr. Henning Aasmul-Olsen
                           Specialist field   :   Danish Law
                           Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                           Prepared for       :   United States District Court, Southern District of New York




2018             Konkursloven med kommentarer, by Lars Lindencrone Petersen & Anders Ør-
                 gaard.
2018             The Danish Capital Markets Act with commentaries (Da. Kapitalmarked-
                 sloven), 1st edition, by Dan Moalem, David Moalem, Peer Schaumburg-Mül-
                 ler, and Erik Werlauff.
2018             Finansieringsret, 2nd edition, by Henrik Kure.
2018             The Danish Companies Act with commentaries (Da. Selskabsloven) med kom-
                 mentarer), 3rd edition, by Lars Bunch and Søren Corfixsen Whitt.
17 August 2017   Note by VP Securities:” Levels of segregation offered by VP SECURITIES
                 A/S”.
15 May 2017      European Post Trade Forum Report.
15 May 2017      Annex 3 to the European Post Trade Forum Report: Detailed analysis of the
                 European Post Trade Landscape.
February 2017    ISSA Report on the Inherent Risks within the Global Custody Chain.
2017             Limited liability companies (Da. Kapitalselskaber), 5th edition, by Jan Schans
                 Christensen.
2017             The Danish Sales of Goods Act with comments (Da. Købeloven), 4th edition,
                 Søren Theilgaard, Aqbal Amiri and Theis Jacobsen.
2017             Aftaler og Mellemmænd, 7th edition, by Lennart Lynge Andersen and Palle
                 Bo Madsen.
2016-2017        Report on administration of dividend tax, by Skatteministeriet.
September 2016   AFME Post Trade Division: Client Asset Protection Task Force. AFME Prin-
                 ciples on Asset Segregation, Due Diligence and Collateral Management.
July 2016        The Custody Services of Banks, by The Clearing House.
2016             Comments on selected decisions (Da. Kommentarer til udvalgte afgørelser),
                 SKM2016.281.HR, RR.SM.2016.0101, by Anders Nørgaard Laursen.
February 2015    Post Trade explained: The role of post-trade services in the financial sector, by
                 Association for Financial Markets in Europe.
2015             European Banking and Financial Law, by Matthias Haentjens and
                 Pierre de Gioia-Carabellese.
2015             Limited liability companies (Da. Kapitalselskaber), 8th edition, by Bern-hard
                 Gomard and Peer Schaumburg-Müller.
2015             SKAT’s early warning response in connection with stock lending (Da. Svar på
                 early warning i forbindelse med aktielån), J.nr. XX-XXXXXXX.




                                                                                                                    Page 38 of 47
Case 1:18-md-02865-LAK            Document 836                      Filed 06/27/22                    Page 39 of 49
                           Report of          :   Mr. Henning Aasmul-Olsen
                           Specialist field   :   Danish Law
                           Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                           Prepared for       :   United States District Court, Southern District of New York




2014            IOSCO Final report – Recommendations Regarding the Protection of Client
                Assets
2013            Værdipapirhandelsloven med kommentarer 2013, 12th edition, by Jesper Lau
                Hansen.
2013            The Danish Securities Trading Act with commentaries, part II, 9th edition, by
                Jesper Lau Hansen.
2013            Limited liability companies (Da. Aktie- og anpartsselskabsret – Kapitalselska-
                ber), 12th edition, by Paul Krüger Andersen.
2013            Grundlæggende aftaleret, by Mads Bryde Andersen.
2012            Almindelig kontraktret, Bernhard Gomard, Hans Viggo Godsk Pedersen &
                Anders Ørgaard.
2012            The Danish Companies Act with commentaries (Da. Selskabsloven med kom-
                mentarer), 1st edition, by Jan Schans Christensen.
19 March 2012   Post Trade Settlement Committee Task Force on CSD Account Structure: CSD
                Account Structure: Issues and Proposals, Final Report, by Association for Fi-
                nancial Markets in Europe.
2012            Aftaler og Mellemmænd, 6th edition, by Lennart Lynge Andersen and Palle
                Bo Madsen.
2011            Panterettens deklaratoriske omfang ved pant i kapitalandele, by Henrik Kure.
2011            Årsregnskabsloven med kommentarer, by Henrik Steffensen.
2011            Contract Law in Denmark, by Ruth Nielsen.
2011            Handbook of corporate equity derivatives and equity capital markets, by Juan
                Ramirez.
2010            The extent of the prohibition against short selling (Da. Rækkevidden af short
                selling-forbuddet), by Henrik Kure.
2010            On the rationale behind the prohibition against short selling (Da. Om rationalet
                bag forbud mod short selling), by Henrik Kure.
2009            Obligationsret 3. del, 2. edition, by Bernhard Gomard and edited by Torsten
                Iversen.
2009            Forvaltningsret – Almindelige emner, 5th edition, by Jens Garde et al.
2009            TfS.2009.480 by Jakob Bundgaard.
2009            Introduction to the law of property (Da. Indledning til tingsretten – tredje-
                mandskonflikter vedrørende løsøre), 2nd edition, by Peter Mortensen.
2008            The Danish Sales of Goods Act with commentaries, by Jacob Nørager-Nielsen,
                Søren Theilgaard, Michael Bjerg Hansen and Martin Hørmann Pallesen.



                                                                                                                    Page 39 of 47
  Case 1:18-md-02865-LAK           Document 836                      Filed 06/27/22                    Page 40 of 49
                            Report of          :   Mr. Henning Aasmul-Olsen
                            Specialist field   :   Danish Law
                            Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                            Prepared for       :   United States District Court, Southern District of New York




 2007             The Securities Custody, Occasional Paper Series, by the European Central
                  Bank (Diana Chan, Florence Fontan, Simonetta Rosati, and Daniela Russo).
 2007             Gældsbrevsloven med kommentarer, 2nd edition, by Lennart Lynge-Andersen,
                  Peter Møgelvang-Hansen og Anders Ørgaard.
 2006             The Danish Securities Trading Act with commentaries (Da. Værdipapirhan-
                  delsloven med kommentarer), 1st edition, by Dan Moalem, David Moalem and
                  Erik Werlauff.
 2006             Tax law and civil law (Da. Skatteret og civilret), 1st edition, by Jakob Bund-
                  gaard.
 2006             Participation in limited liability companies – The shareholder concept in the
                  light of company and tax law (Da. Deltagelse i kapitalselskaber – ak-tionær-
                  begrebet i selskabsretlig og skatteretlig belysning), SPO.2006.17, by Jakob
                  Bundgaard.
 2006             Law of obligations (Da. Obligationsret), 4th edition, 1st part, by Bernhard
                  Gomard.
 2004             Legal methodology (Da. Juridisk Metodelære), 3rd edition, by Peter Blume.
 2004             Securites’ rights (Da. Rettigheder over værdipapirer. Individualisering og sik-
                  ringsakt) in Juristen no. 4, by Ulrik Rammeskov Bang Pedersen.
 2003             Sikkerhed i fordringer, 4th edition, by Nis Jul Clausen.
 2002             Law & Methodology (Da. Ret & Metode), 1st edition, by Mads Bryde Ander-
                  sen.
 1999             The sources of law (Da. Rettens kilder), 1st edition, by Henrik Zahle.
 1999             The law of Property 1 (Da. Ejendomsretten 1), 4th edition, by Michael Elmer
                  and Lise Skovby.
 1997             Actio Pauliana og pro forma (1997, published in Ugeskrift for Retsvæ-
                  sen.1997B.369), by Torben Jensen.
 1992             Juridisk grundbog 1 – Retskilderne, W.E. von Eyben.
 1978             Aftaler, by Henry Ussing.
 1972             Formuerettigheder: Indhold, beskyttelse, overdragelse, by W.E. von Eyben.
 1971             Kontraktsret I, by Stig Jørgensen.
 1967             Obligationsretten – Almindelig del, by Henry Ussing.
 1908             Haandbog i Obligationsretten, almindelig del, by Julius Lassen.


Other materials

 Date             Materials


                                                                                                                     Page 40 of 47
  Case 1:18-md-02865-LAK                 Document 836                      Filed 06/27/22                    Page 41 of 49
                                  Report of          :   Mr. Henning Aasmul-Olsen
                                  Specialist field   :   Danish Law
                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                  Prepared for       :   United States District Court, Southern District of New York




 2022                  CVR – Central Business Register – Database by The Danish Business Author-
                       ity (Da. CVR – Det Centrale Virksomhedsregister - Erhvervsstyrelsen)
                       https://datacvr.virk.dk/data/.
 27 April 2022         Novo Nordisk A/S’ articles of association.
 February 2021         Novo Nordisk’ notice for annual general meeting 2021
 4 December 2020       Data extract from VP Securities.
 20 October 2020       Indicator summary from VP Securities.
 3 September 2020      Ringkjøbing Landbobank Custody Account Terms.
 September 2020        Jyske Bank Custody Account Terms.
 2020                  Annual Report – Novo Nordisk.
 2020                  Annual Report – Carlsberg.
 2020                  Annual Report – Danske Bank.
 1 June 2019           Spar Nord Custody Account Terms.
 25 May 2018           Nordea Custody Account Terms.
 1 March 2018          Danske Bank Custody Account Terms.
 3 January 2018        Saxo Bank Custody Account Terms.
 3 January 2018        Arbejdernes Landsbank Custody Account Terms.
 3 January 2018        Den Jyske Sparekasse Custody Account Terms
 3 January 2017        Skandinaviska Enskilda Banken (SEB) Custody Account Terms.
 13 December 2017      Nykredit Custody Account Terms.
 12 December 2017      Vestjysk Bank Custody Account Terms.
 30 September 2013     Danske Bank Custody Account Terms.
 24 September 2007     Sydbank Custody Account Terms.


Submissions in the Dispute provided by Plaintiff

 Date                  Material
 29 April 2022         Plaintiff Skatteforvaltningen’s Memorandum of Law in Support of its Motion
                       for Partial Summary Judgment.
 29 April 2022         Defendants’ and Third-Party Defendants’ Memorandum in Support of Motion
                       for Summary Judgment.
 28 April 2022         Eastern High Court Ruling: Skatteforvaltningen v. Bech Bruun Advokatpart-
                       nerselskab P/S (case no. BS-26436/2020-OLR), including a certified English
                       translation. Only the High Court’s ruling and holdings have been made avail-
                       able to me.
 27 April 2022         Declaration of Foreign Law of Kasper Bech Pilgaard in the Dispute.


                                                                                                                           Page 41 of 47
 Case 1:18-md-02865-LAK                 Document 836                      Filed 06/27/22                    Page 42 of 49
                                 Report of          :   Mr. Henning Aasmul-Olsen
                                 Specialist field   :   Danish Law
                                 Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                 Prepared for       :   United States District Court, Southern District of New York




31 December 2021    Expert Report of Bruce G. Dubinsky.
7 December 2021     Remote VTC videotaped deposition under oral examination of Helen
                    Sorensen, Volume II.
21 September 2021   Remote VTC videotaped deposition under oral examination of Helen
                    Sorensen.
8 June 2021         Remote VTC videotaped deposition under oral examination of Gunnar Volkers
                    in the Dispute dated June 8, 2021.
16 September 2019   Rosenblatt Investigation into Danish trading activity of ED&F Man Profes-
                    sional Trading (Dubai) Ltd (“MPT Dubai”) with no annexes or ancillary doc-
                    uments except for Annex E.
2 October 2020      Decision by Danish Tax Tribunal which involved the Riverside Associates De-
                    fined Benefit Plan.
16 July 2020        Decision by Danish Tax Tribunal which involved the FWC Capital LLC Pen-
                    sion Plan.
16 July 2020        Decision by Danish Tax Tribunal which involved the Roadcraft Technologies
                    LLC Roth 401(K) Plan.
7 July 2020         Decision by Danish Tax Tribunal which involved the American Investment
                    Group of New York, L.P. Pension Plan.
26 June 2020        Decision by Danish Tax Tribunal which involved the Proper Pacific LLC
                    401(K) Plan.
19 December 2019    Pleading of Defendants (The Proper Pacific LLC 401(K) Plan) in Danish tax
                    cases before the Danish Tax Tribunal (Bellwether) prepared by TVC Advo-
                    katfirma, lawyers Kasper Bech Pilgaard and Torben Bagge.
18 December 2019    Pleading of Defendants (The FWC Capital LLC Plan) in Danish tax cases be-
                    fore the Danish Tax Tribunal (Bellwether) prepared by TVC Advokatfirma,
                    lawyers Kasper Bech Pilgaard and Torben Bagge.
9 December 2019     Pleading of Defendants (Roadcraft Technologies LLC Roth 401(K) Plan) in
                    Danish tax cases before the Danish Tax Tribunal (Bellwether) prepared by
                    TVC Advokatfirma, lawyer Kasper Bech Pilgaard.
27 August 2019      Pleading of Defendants (Roadcraft Technologies LLC Roth 401(K) Plan) in
                    Danish tax cases before the Danish Tax Tribunal (Bellwether) prepared by
                    TVC Advokatfirma, lawyer Kasper Bech Pilgaard.
12 August 2019      Pleading of Plaintiff (Skatteforvaltningen) in Danish tax cases before the Dan-
                    ish Tax Tribunal (the FWC Capital LLC Plan case).




                                                                                                                          Page 42 of 47
Case 1:18-md-02865-LAK             Document 836                      Filed 06/27/22                    Page 43 of 49
                            Report of          :   Mr. Henning Aasmul-Olsen
                            Specialist field   :   Danish Law
                            Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                            Prepared for       :   United States District Court, Southern District of New York




14 May 2019        Pleading of Defendants (The FWC Capital LLC Plan) in Danish tax cases be-
                   fore the Danish Tax Tribunal (Bellwether) prepared by TVC Advokatfirma,
                   lawyers Kasper Bech Pilgaard and Torben Bagge.
7 May 2019         Pleading of Defendants (Roadcraft Technologies LLC Roth 401(K) Plan) in
                   Danish tax cases before the Danish Tax Tribunal (Bellwether) prepared by
                   TVC Advokatfirma, lawyer Kasper Bech Pilgaard.
20 November 2018   Pleading of Defendants (The FWC Capital LLC Plan) in Danish tax cases be-
                   fore the Danish Tax Tribunal (Bellwether) prepared by TVC Advokatfirma,
                   lawyers Kasper Bech Pilgaard and Torben Bagge.




                                                                                                                     Page 43 of 47
  Case 1:18-md-02865-LAK               Document 836                      Filed 06/27/22                    Page 44 of 49
                                Report of          :   Mr. Henning Aasmul-Olsen
                                Specialist field   :   Danish Law
                                Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                Prepared for       :   United States District Court, Southern District of New York




Appendix 4 - Timeline for dividend distribution based on T+2 and T+3 settlement




                                                                                                                         Page 44 of 47
Appendix 4 – Timeline for the mechanics in a distribution of dividends by a Danish Nasdaq Copenhagen listed company (T+2)

                                                                                                                                                                                      Net dividends are paid by the Issuer via
                                                                                                                                                                                    Denmark’s Nationalbank to account holding
                                                                                                                                                                                     institution based on information from VP
                                                                    Issuer reports                            Share issuing bank                                                    Securities. Account holding institution then
 AGM resolution to Issuer announcement                           dividend amount to                        reports dividend amount                  VP Securities records rights to    credit the dividends to VP registered
 distribute dividends on resolutions of AGM                      share issuing bank                            to VP Securities                          receive dividends                          shareholders1
T = declaration date             T        T+1 = ex-dividend date T+1 (before 10.00)                          T+1 (before 12.00)                     T+2 (17.59.59) = record date               T+3 = payment date
                                                                                                                                                                                                                                   Case 1:18-md-02865-LAK




  T (09.00)                          T (17.00)       T+1 (09.00)                                                      T+1 (17.00)         T+2 (09.00)     T+2 (17.00)                T+3 (09.00)           T+3 (17.00)
Trading opens                      Trading closes   Trading opens                                                    Trading closes      Trading opens   Trading closes             Trading opens         Trading closes
                                                (Share price reduced for
                                                       dividends)
                                                                                                                                                                                                                                   Document 836




             Trading cum-dividend             Trading ex-dividend2



Sources: Danske Bank Corporate Actions Wholesale Banking Services, VP Rules A-D 2013, VP Rule Book 1 October 2019, Nasdaq Nordic Nordic Member Rules V 4, and Henning Aasmul-Olsen.

1 Provided that account holding institution has not put the dividend payment on hold due to insufficient cash funds on the Issuer’s bank account.


2 All trades past T (17:00) are ex-dividend, assuming customary T+2 settlement.
                                                                                                                                                                                                                                   Filed 06/27/22
                                                                                                                                                                                                                                   Page 45 of 49
Appendix 4 – Timeline for the mechanics in a distribution of dividends by a Danish Nasdaq Copenhagen listed company (T+3)

                                                                                                                                                                                      Net dividends are paid by the Issuer via
                                                                                                                                                                                    Denmark’s Nationalbank to account holding
                                                                                                                                                                                     institution based on information from VP
                                                                    Issuer reports                            Share issuing bank                                                    Securities. Account holding institution then
 AGM resolution to Issuer announcement                           dividend amount to                        reports dividend amount                  VP Securities records rights to    credit the dividends to VP registered
 distribute dividends on resolutions of AGM                      share issuing bank                            to VP Securities                          receive dividends                         shareholders11
T = declaration date             T        T+1 = ex-dividend date T+1 (before 10.00)                          T+1 (before 12.00)                     T+3 (17.59.59) = record date               T+4 = payment date
                                                                                                                                                                                                                                   Case 1:18-md-02865-LAK




  T (09.00)                          T (17.00)       T+1 (09.00)                                                      T+1 (17.00)         T+3 (09.00)      T+3 (17.00)                T+4 (09.00)          T+4 (17.00)
Trading opens                      Trading closes   Trading opens                                                    Trading closes      Trading opens    Trading closes             Trading opens        Trading closes
                                                (Share price reduced for
                                                       dividends)
                                                                                                                                                                                                                                   Document 836




             Trading cum-dividend             Trading ex-dividend2



Sources: Danske Bank Corporate Actions Wholesale Banking Services, VP Rules A-D 2013, VP Rule Book 1 October 2019, Nasdaq Nordic Nordic Member Rules V 4, and Henning Aasmul-Olsen.

1 Provided that account holding institution has not put the dividend payment on hold due to insufficient cash funds on the Issuer’s bank account.


2 All trades past T (17:00) are ex-dividend, assuming customary T+3 settlement.
                                                                                                                                                                                                                                   Filed 06/27/22
                                                                                                                                                                                                                                   Page 46 of 49
  Case 1:18-md-02865-LAK               Document 836                      Filed 06/27/22                    Page 47 of 49
                                Report of          :   Mr. Henning Aasmul-Olsen
                                Specialist field   :   Danish Law
                                Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                Prepared for       :   United States District Court, Southern District of New York




Appendix 5 – Cases referenced by Mr. Pilgaard

 Reference               Description
 SKM2001.126.HR          K1, K2, K3 and F1 incorporated on 1 July 1990 F2. On 1 September 1994,
                         K3 sold nominally DKK 10,000 shares in F2 to K1 and DKK 12,000 shares
                         in F2 to K2. Simultaneously, F1 sold all of its shares, nominally DKK
                         24,000 in F2 to K1. All shares were sold at a price of DKK 0. All trades
                         were completed and there was no issue or dispute regarding whether (i) the
                         shares existed, (ii) a final and binding agreement had been concluded, and
                         (iii) the shares had been delivered and at what time delivery occurred. The
                         Supreme Court held that the Danish Capital Gains Tax Act’s rules on tim-
                         ing for passing of title for tax purposes is the time of transfer. As K1, K2,
                         and K3 had executed trade confirmations on 1 September 1994, the Su-
                         preme Court held that the point in time from which taxation should occur
                         was 1 September 1994.

 SKM2005.490.HR          In May 1999, A and C entered into an agreement with B. The agreement
                         provided B with a right to acquire A and C’s shares in company D in the
                         period between 1 August 2001 and 30 April 2002. B exercised the call op-
                         tion in January 2002. The trade was completed and there was no issue or
                         dispute regarding whether (i) the shares existed, (ii) a final and binding
                         agreement had been concluded, and (iii) the shares had been delivered and
                         at what time delivery occurred. The Supreme Court held that the shares
                         from a tax law perspective were sold at the time of conclusion of the option
                         agreement in May 1999 and not at the time of exercise, as the Supreme
                         Court found it highly unlikely that the option would not have been exercised
                         as contemplated. Consequently, the Supreme Court held that the point in
                         time from which taxation should occur was 1 September 1994.

 SKM2011.533HR           On 30 June 2000, A entered into an agreement with B. The agreement pro-
                         vided B with a right to acquire A's shares in company C. B exercised the
                         option in December 2001. The trade was completed and there was no issue
                         or dispute regarding whether (i) the shares existed, (ii) a final and binding
                         agreement had been concluded, and (iii) the shares had been delivered and
                         at what time delivery occurred. The Supreme Court held that the shares
                         from a tax law perspective were sold at the time of conclusion of the option
                         agreement in June 2000 and not at the time of exercise, as the Supreme
                         Court found it highly unlikely that the option would not have been exercised
                         as contemplated. Consequently, the Supreme Court held that the point in
                         time from which taxation should occur was 30 June 2000.




                                                                                                                         Page 45 of 47
 Case 1:18-md-02865-LAK                 Document 836                      Filed 06/27/22                    Page 48 of 49
                                 Report of          :   Mr. Henning Aasmul-Olsen
                                 Specialist field   :   Danish Law
                                 Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                 Prepared for       :   United States District Court, Southern District of New York




SKM2008.825BR             On 16 December 2000, VN faxed to A an offer to purchase A’s shares in
                          company C. The shares were identified by physical share certificates and
                          held in custody by Credit Suisse. There was no issue or dispute regarding
                          whether (i) the shares existed, (ii) a final and binding agreement had been
                          concluded, and (iii) the shares had been delivered. The time of delivery of
                          the shares was unclear, but the City Court held that the shares were deliv-
                          ered at the time Credit Suisse’s issuance of a “Transfer Instruction for Se-
                          curities” on 27 February 2001 which stated that the share certificates should
                          be sent to VN by registered letter. The Supreme Court held that the shares
                          from a tax law perspective were sold at the time of conclusion of the agree-
                          ment in December 2000. Consequently, the Supreme Court held that the
                          point in time from which taxation should occur was 16 December 2000.

SKM2010.259.BR            On 28 February 2003, A entered into an agreement to sell shares in H2 to
                          B. The shares were to be delivered and the consideration was to be paid
                          within one year from 28 February 2003. The consideration could be paid
                          by B in either cash or shares in B. B had the right to determine the time and
                          form of payment of consideration and delivery within this period. B chose
                          to pay in shares. The trade was completed at the expiry of the one year
                          period. Shortly after, A sold the shares in B. The question concerned the
                          timing of taxation with respect to the shares in B acquired by A. There was
                          no issue or dispute regarding whether (i) the shares existed, (ii) a final and
                          binding agreement had been concluded, and (iii) the shares had been deliv-
                          ered and at what time delivery occurred. Primarily because A had the down-
                          side risk on the shares in B from the time of entering into the agreement on
                          28 February 2003, the City Court held that the shares for taxation timing
                          purposes had been sold at the time of the conclusion of the agreement on
                          28 February 2003 and that taxation should occur from this time.

SKM2002.399.VLR           A had a put option on the shares, which he exercised in 1995. However, the
                          exercise was not immediately executed due to certain issues, including
                          terms of placing the purchase price into escrow. The High Court held that
                          the shares were not sold until 1996, where the transfer was executed. There
                          was no issue or dispute regarding whether (i) the shares existed, (ii) a final
                          and binding agreement had been concluded, and (iii) the shares had been
                          delivered and at what time delivery occurred.

SKM2008.759.SR           An option agreement contained a call and put option for the shares in com-
                         pany A. The Danish Tax Assessment Council (Da. Skatterådet) was asked
(advance tax ruling (Da. to confirm that the entry into of the option agreement would not trigger
bindende forhåndssvar) taxation at such time, i.e. the Danish Tax Assessment Council was not



                                                                                                                          Page 46 of 47
 Case 1:18-md-02865-LAK                  Document 836                      Filed 06/27/22                    Page 49 of 49
                                  Report of          :   Mr. Henning Aasmul-Olsen
                                  Specialist field   :   Danish Law
                                  Retained by        :   Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                                  Prepared for       :   United States District Court, Southern District of New York




                           asked to opine on whether (i) the shares existed, (ii) a final and binding
                           agreement would have been concluded, and (iii) the shares could be deliv-
                           ered and at what time delivery would have occurred. The Danish Tax As-
                           sessment Council stated that in the specific case it could not be considered
                           a certainty that the option would be exercised, and that there was nothing
                           in the information provided which indicated that the option agreement
                           should in fact be a sale and purchase agreement. The Danish Tax Assess-
                           ment Council held that there was a real possibility that the option would not
                           be exercised. The transfer of the shares from a tax law perspective would
                           therefore be deemed to have taken place at the time of exercise of the option
                           from which time the transfer would be subject to taxation.

SKM2008.803.SR           The Danish Tax Assessment Council was asked to confirm that a final and
                         binding agreement on the acquisition of shares for tax law purposes would
(advance tax ruling (Da. at the earliest be deemed entered into when certain specific conditions had
bindende forhåndssvar) been met, i.e. the Danish Tax Assessment Council was not asked to opine
                         on whether (i) the shares existed, and (ii) the shares could be delivered and
                         at what time delivery would have occurred. As the conditions to the agree-
                         ment had suspensory effect, meaning that the condition entailed that actual
                         uncertainty existed as to whether the agreement will be concluded, the Dan-
                         ish Tax Assessment Council confirmed the request.

SKM2008.831.SR           The Danish Tax Assessment Council was asked to confirm whether shares
                         for which an order was placed for prior to 30 December 2005 was subject
(advance tax ruling (Da. to the Danish Capital Gains Taxation Act, i.e. the Danish Tax Assessment
bindende forhåndssvar) Council was not asked to opine on whether (i) the shares existed, and (ii)
                         the shares could be delivered and at what time delivery would have oc-
                         curred. As part of its analysis, the Danish Tax Assessment Council stated
                         that according to customary tax law rules, a share purchase is considered
                         for tax law purposes to have taken place at the time of entry into of a final
                         and binding agreement. The Danish Tax Assessment Council held that the
                         placing of an order for shares cannot be considered a final purchase agree-
                         ment and consequently that the shares in question was not subject to the
                         Danish Capital Gains Taxation Act.




                                                                                                                           Page 47 of 47
